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                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                       EUGENE DIVISION

 OREGON RIGHT TO LIFE,                               Case No.: 6:23-cv-1282
                                        Plaintiff,
 v.
                                                DECLARATION OF JOSEPH D.
 OREGON DEPARTMENT OF                           MAUGHON IN SUPPORT OF
 CONSUMER AND BUSINESS                          PRELIMINARY INJUNCTION MOTION
 SERVICES and ANDREW R. STOLFI, in
 his official capacities as Department of
 Consumer and Business Services Director and
 Oregon Insurance Commissioner,
                                    Defendants.

                          Declaration of Joseph D. Maughon
                     in Support of Preliminary Injunction Motion

      I, Joseph D. Maughon, verify the following facts in support of the Preliminary Injunction

Motion:

      1. Attached as exhibits are PDF versions of web-pages that I retrieved on September 12,

2023, from the indicated URLs below that were cited in the Preliminary Injunction Memo:

      Exhibit:

      A. H.B. 3391 (Enrolled), 79th Or. Legis. Assemb., 2017 Reg. Legis. Sess.,
         https://olis.oregonlegislature.gov/liz/2017R1/Downloads/MeasureDocument/HB3391.

      B. Or. Laws 2017, ch. 721 (H.B. 3391),
         www.oregonlegislature.gov/bills_laws/lawsstatutes/2017orlaw0721.pdf.

      C. H.B. 2002 (Enrolled), 82nd Or. Legis. Assemb., 2023 Reg. Legis. Sess.,
         https://olis.oregonlegislature.gov/liz/2023R1/Downloads/MeasureDocument/HB2002.

      D. Public Hearing on HB 2002 Before the H. Comm. on Behavioral Health and Health
         Care of the Oregon State Legislature, 2023 Regular Session (March 20, 2023) (Testi-


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        Case 6:23-cv-01282-MK       Document 12      Filed 09/12/23    Page 2 of 101




        mony of Kimberly McCullough, Legislative Director, Office of the Attorney General,
        Oregon Department of Justice)
        https://olis.oregonlegislature.gov/liz/mediaplayer?clientID=4879615486&eventID=2023
        031284&startStreamAt=2198.

   E. Department of Consumer and Business Services, About Us,
      www.oregon.gov/dcbs/news-info/Pages/about-us.aspx.

   F.   Br. for Resp’ts 4-5, Feb. 10, 2014, Burwell v. Hobby Lobby Stores, 573 U.S. 682
        (2014), https://becketpdf.s3.amazonaws.com/13-354-bs.pdf.

   G. Overview, H.B. 3391, 2017 Reg. Legis. Sess.,
      https://olis.oregonlegislature.gov/liz/2017R1/Measures/Overview/HB3391.

   H. Witness Registration: Public Hearing on H.B. 3391 Before the House Health Care
      Committee, 2017 Regular Leg. Sess. (March 15, 2017), https://olis.oregonlegislature.
      gov/liz/2017R1/Downloads/CommitteeMeetingDocument/108284.

   I.   Witness Registration: Public Hearing on H.B. 3391 Before the Joint Ways and Means
        Subcommittee On Human Services, 2017 Regular Leg. Sess. (June 28, 2017),
        https://olis.oregonlegislature.gov/liz/2017R1/Downloads/CommitteeMeetingDocument/
        136756.

   J.   Testimony on HB3391: Written Testimony of Teresa Harke for Public Hearing on H.B.
        3391 Before the House Committee on Health Care, 2017 Regular Leg. Sess. (March 15,
        2017), https://olis.oregonlegislature.gov/liz/2017R1/Downloads/
        CommitteeMeetingDocument/107838.

   K. Letter from Michael L. Cotton, Chief Executive Officer, Providence Health Plans, to
      Hon. Mitch Greenlick, Chair, House Committee on Health Care (Mar. 15, 2017),
      https://olis.oregonlegislature.gov/liz/2017R1/Downloads/CommitteeMeetingDocument/
      107514.

   L. Public Hearing on HB 3391 Before the H. Comm. on Health Care of the Or. State Leg.,
      2017 Regular Session (March 15, 2017) (Testimony of Michael Cotton, Chief Executive
      Officer, Providence Health Plans), https://invintus-client-media.s3.
      wasabisys.com/4879615486/oregon_f9ea023c-9fcb-4e89-8ede-062410b792aa.mp4.

   M. Analysis, H.B. 3391, 2017 Reg. Legis. Sess.,
      https://olis.oregonlegislature.gov/liz/2017R1/Measures/Analysis/HB3391.

   N. Courtney Graham and Andrea Salinas Fact Sheet, H.B. 3391, 2017 Reg. Legis. Sess.,
      https://olis.oregonlegislature.gov/liz/2017R1/Downloads/CommitteeMeetingDocument/
      107499.


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    O. Milken Inst. Sch. Pub. Health, Equity vs. Equality: What’s the Difference? (November
       5, 2020), https://onlinepublichealth.gwu.edu/resources/equity-vs-equality/.

    P. Ore. Health Auth., House Bill 3391: Reproductive Health Equity Act: Report to the Leg-
       islature 1 (2018), www.oregon.gov/oha/PH/HEALTHYPEOPLEFAMILIES/
       REPRODUCTIVESEXUALHEALTH/Documents/RHEA/HB3391-Leg-Report.pdf.

    2. The web-page exhibits are true and accurate copies of the original online versions of the

cited items.




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                                           Verification

I, Joseph D. Maughon, declare as follows:

1.   I am a citizen of the United States of America and a resident of the State of Virginia. I am

     over the age of 18. I am an associate attorney at The Bopp Law Firm, P.C.

2.   I have personal knowledge of the facts and activities set out in the foregoing, and if called to

     testify I would competently testify as to the matters stated herein.

3.   I affirm under penalty of perjury that the factual statements in the foregoing are true and cor-

     rect.



Dated: September 12, 2023                              /s/Joseph D. Maughon
                                                       Joseph D. Maughon




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                                     Exhibit A
                                  H.B. 3391 Enrolled




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                         79th OREGON LEGISLATIVE ASSEMBLY--2017 Regular Session



                                                       Enrolled
                                        House Bill 3391
 Sponsored by Representatives BARKER, WILLIAMSON, FAHEY, Senators DEVLIN, MONNES
    ANDERSON; Representatives ALONSO LEON, BOONE, GOMBERG, HELM, HERNANDEZ,
    HOLVEY, KENY-GUYER, LININGER, MALSTROM, MARSH, MCLAIN, MEEK, NOSSE,
    PILUSO, POWER, RAYFIELD, REARDON, SANCHEZ, SMITH WARNER, SOLLMAN, WITT,
    Senators BEYER, DEMBROW, FREDERICK, GELSER, MANNING JR, PROZANSKI, RILEY,
    STEINER HAYWARD, TAYLOR



                                        CHAPTER .................................................



                                                            AN ACT


 Relating to reproductive health care; and declaring an emergency.

 Be It Enacted by the People of the State of Oregon:

     SECTION 1. Section 2 of this 2017 Act is added to and made a part of the Insurance Code.
     SECTION 2. (1) As used in this section:
     (a) “Contraceptives” means health care services, drugs, devices, products or medical
 procedures to prevent a pregnancy.
     (b) “Enrollee” means an insured individual and the individual’s spouse, domestic partner
 and dependents who are beneficiaries under the insured individual’s health benefit plan.
     (c) “Health benefit plan” has the meaning given that term in ORS 743B.005, excluding
 Medicare Advantage Plans and including health benefit plans offering pharmacy benefits ad-
 ministered by a third party administrator or pharmacy benefit manager.
     (d) “Religious employer” has the meaning given that term in ORS 743A.066.
     (2) A health benefit plan offered in this state must provide coverage for all of the fol-
 lowing services, drugs, devices, products and procedures:
     (a) Well-woman care prescribed by the Department of Consumer and Business Services
 by rule consistent with guidelines published by the United States Health Resources and Ser-
 vices Administration.
     (b) Counseling for sexually transmitted infections, including but not limited to human
 immunodeficiency virus and acquired immune deficiency syndrome.
     (c) Screening for:
     (A) Chlamydia;
     (B) Gonorrhea;
     (C) Hepatitis B;
     (D) Hepatitis C;
     (E) Human immunodeficiency virus and acquired immune deficiency syndrome;
     (F) Human papillomavirus;
     (G) Syphilis;
     (H) Anemia;
     (I) Urinary tract infection;
     (J) Pregnancy;

 Enrolled House Bill 3391 (HB 3391-B)                                                                           Page 1




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      (K) Rh incompatibility;
      (L) Gestational diabetes;
      (M) Osteoporosis;
      (N) Breast cancer; and
      (O) Cervical cancer.
      (d) Screening to determine whether counseling related to the BRCA1 or BRCA2 genetic
 mutations is indicated and counseling related to the BRCA1 or BRCA2 genetic mutations if
 indicated.
      (e) Screening and appropriate counseling or interventions for:
      (A) Tobacco use; and
      (B) Domestic and interpersonal violence.
      (f) Folic acid supplements.
      (g) Abortion.
      (h) Breastfeeding comprehensive support, counseling and supplies.
      (i) Breast cancer chemoprevention counseling.
      (j) Any contraceptive drug, device or product approved by the United States Food and
 Drug Administration, subject to all of the following:
      (A) If there is a therapeutic equivalent of a contraceptive drug, device or product ap-
 proved by the United States Food and Drug Administration, a health benefit plan may pro-
 vide coverage for either the requested contraceptive drug, device or product or for one or
 more therapeutic equivalents of the requested drug, device or product.
      (B) If a contraceptive drug, device or product covered by the health benefit plan is
 deemed medically inadvisable by the enrollee’s provider, the health benefit plan must cover
 an alternative contraceptive drug, device or product prescribed by the provider.
      (C) A health benefit plan must pay pharmacy claims for reimbursement of all
 contraceptive drugs available for over-the-counter sale that are approved by the United
 States Food and Drug Administration.
      (D) A health benefit plan may not infringe upon an enrollee’s choice of contraceptive
 drug, device or product and may not require prior authorization, step therapy or other
 utilization control techniques for medically appropriate covered contraceptive drugs, devices
 or other products approved by the United States Food and Drug Administration.
      (k) Voluntary sterilization.
      (L) As a single claim or combined with other claims for covered services provided on the
 same day:
      (A) Patient education and counseling on contraception and sterilization.
      (B) Services related to sterilization or the administration and monitoring of
 contraceptive drugs, devices and products, including but not limited to:
      (i) Management of side effects;
      (ii) Counseling for continued adherence to a prescribed regimen;
      (iii) Device insertion and removal; and
      (iv) Provision of alternative contraceptive drugs, devices or products deemed medically
 appropriate in the judgment of the enrollee’s provider.
      (m) Any additional preventive services for women that must be covered without cost
 sharing under 42 U.S.C. 300gg-13, as identified by the United States Preventive Services Task
 Force or the Health Resources and Services Administration of the United States Department
 of Health and Human Services as of January 1, 2017.
      (3) A health benefit plan may not impose on an enrollee a deductible, coinsurance,
 copayment or any other cost-sharing requirement on the coverage required by this section.
 A health care provider shall be reimbursed for providing the services described in this sec-
 tion without any deduction for coinsurance, copayments or any other cost-sharing amounts.
      (4) Except as authorized under this section, a health benefit plan may not impose any
 restrictions or delays on the coverage required by this section.

 Enrolled House Bill 3391 (HB 3391-B)                                                   Page 2




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     (5) This section does not exclude coverage for contraceptive drugs, devices or products
 prescribed by a provider, acting within the provider’s scope of practice, for:
     (a) Reasons other than contraceptive purposes, such as decreasing the risk of ovarian
 cancer or eliminating symptoms of menopause; or
     (b) Contraception that is necessary to preserve the life or health of an enrollee.
     (6) This section does not limit the authority of the Department of Consumer and Busi-
 ness Services to ensure compliance with ORS 743A.063 and 743A.066.
     (7) This section does not require a health benefit plan to cover:
     (a) Experimental or investigational treatments;
     (b) Clinical trials or demonstration projects, except as provided in ORS 743A.192;
     (c) Treatments that do not conform to acceptable and customary standards of medical
 practice;
     (d) Treatments for which there is insufficient data to determine efficacy; or
     (e) Abortion if the insurer offering the health benefit plan excluded coverage for abortion
 in all of its individual, small employer and large employer group plans during the 2017 plan
 year.
     (8) If services, drugs, devices, products or procedures required by this section are pro-
 vided by an out-of-network provider, the health benefit plan must cover the services, drugs,
 devices, products or procedures without imposing any cost-sharing requirement on the
 enrollee if:
     (a) There is no in-network provider to furnish the service, drug, device, product or pro-
 cedure that is geographically accessible or accessible in a reasonable amount of time, as de-
 fined by the Department of Consumer and Business Services by rule consistent with the
 requirements for provider networks in ORS 743B.505; or
     (b) An in-network provider is unable or unwilling to provide the service in a timely
 manner.
     (9) An insurer may offer to a religious employer a health benefit plan that does not in-
 clude coverage for contraceptives or abortion procedures that are contrary to the religious
 employer’s religious tenets only if the insurer notifies in writing all employees who may be
 enrolled in the health benefit plan of the contraceptives and procedures the employer refuses
 to cover for religious reasons.
     (10) If the Department of Consumer and Business Services concludes that enforcement
 of this section may adversely affect the allocation of federal funds to this state, the depart-
 ment may grant an exemption to the requirements but only to the minimum extent neces-
 sary to ensure the continued receipt of federal funds.
     (11) An insurer that is subject to this section shall make readily accessible to enrollees
 and potential enrollees, in a consumer-friendly format, information about the coverage of
 contraceptives by each health benefit plan and the coverage of other services, drugs, devices,
 products and procedures described in this section. The insurer must provide the information:
     (a) On the insurer’s website; and
     (b) In writing upon request by an enrollee or potential enrollee.
     (12) This section does not prohibit an insurer from using reasonable medical management
 techniques to determine the frequency, method, treatment or setting for the coverage of
 services, drugs, devices, products and procedures described in subsection (2) of this section,
 other than coverage required by subsection (2)(g) and (j) of this section, if the techniques:
     (a) Are consistent with the coverage requirements of subsection (2) of this section; and
     (b) Do not result in the wholesale or indiscriminate denial of coverage for a service.
     SECTION 3. No later than September 15, 2019, the Department of Consumer and Business
 Services shall report to the interim committees of the Legislative Assembly related to health
 on the degree of compliance by insurers with section 2 of this 2017 Act and of any actions
 taken by the department under ORS 731.988 to enforce compliance with section 2 of this 2017
 Act.

 Enrolled House Bill 3391 (HB 3391-B)                                                     Page 3




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     SECTION 4. Section 5 of this 2017 Act is added to and made a part of ORS chapter 414.
     SECTION 5. (1) The Oregon Health Authority shall administer a program to reimburse
 the cost of medically appropriate services, drugs, devices, products and procedures described
 in section 2 of this 2017 Act, for individuals who can become pregnant and who would be el-
 igible for medical assistance if not for 8 U.S.C. 1611 or 1612.
     (2) The authority shall provide the medical assistance for pregnant women that is au-
 thorized by Title XXI, section 2112, of the Social Security Act (42 U.S.C. 1397ll) for 60 days
 immediately postpartum.
     (3) The authority shall collect data and analyze the cost-effectiveness of the services,
 drugs, devices, products and procedures paid for under this section.
     (4) The authority, in collaboration with the Department of Consumer and Business Ser-
 vices if necessary, shall explore any and all opportunities to obtain federal financial partic-
 ipation in the costs of implementing this section, including but not limited to waivers or
 demonstration projects under Title X of the Public Health Service Act or Title XIX or XXI
 of the Social Security Act. However, the implementation of this section is not contingent
 upon the authority’s receipt of a waiver or authorization to operate a demonstration project.
     SECTION 6. Not later than September 15, 2018, the Oregon Health Authority shall report
 to the interim committees of the Legislative Assembly related to health on the implementa-
 tion of section 5 of this 2017 Act.
     SECTION 7. (1) An individual may not, on the basis of actual or perceived race, color,
 national origin, sex, sexual orientation, gender identity, age or disability, be excluded from
 participation in, be denied the benefits of or otherwise be subjected to discrimination by any
 health benefit plan issued or delivered in this state, in the receipt of medical assistance as
 defined in ORS 414.025 or in the coverage of or payment for the services, drugs, devices,
 products and procedures described in section 2 of this 2017 Act.
     (2) Violation of this section is an unlawful practice under ORS 659A.403.
     (3) Nothing in this section shall be construed to invalidate or limit the rights, remedies,
 procedures or legal standards available to individuals under ORS 659A.820 or 659A.885 or to
 supersede state or local laws that provide additional protections against discrimination on
 any basis described in subsection (1) of this section.
     SECTION 8. A public body as defined in ORS 174.109 or, except as provided in ORS
 435.225, an officer, employee or agent of a public body may not:
     (1) Deprive a consenting individual of the choice of terminating the individual’s preg-
 nancy;
     (2) Interfere with or restrict, in the regulation or provision of benefits, facilities, services
 or information, the choice of a consenting individual to terminate the individual’s pregnancy;
     (3) Prohibit a health care provider, who is acting within the scope of the health care
 provider’s license, from terminating or assisting in the termination of a patient’s pregnancy;
 or
     (4) Interfere with or restrict, in the regulation or provision of benefits, facilities, services
 or information, the choice of a health care provider, who is acting within the scope of the
 health care provider’s license, to terminate or assist in the termination of a patient’s preg-
 nancy.
     SECTION 9. The Health Evidence Review Commission shall review the coverage described
 in section 2 (2) of this 2017 Act and, no later than November 1 of each even-numbered year,
 report to the interim committees of the Legislative Assembly related to health any recom-
 mended changes to the coverage described in section 2 (2) of this 2017 Act based upon the
 latest clinical research.
     SECTION 10. (1) As used in this section, “health benefit plan” has the meaning given that
 term in section 2 of this 2017 Act.
     (2) In consultation with the Department of Consumer and Business Services, the Oregon
 Health Authority shall design a program to provide statewide access to abortion coverage for

 Enrolled House Bill 3391 (HB 3391-B)                                                          Page 4




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 Oregon residents enrolled in health benefit plans described in section 2 (7)(e) and (9) of this
 2017 Act.
     (3) In developing the design of the program described in subsection (2) of this section, the
 authority and the department shall consult with consumer advocates, insurers transacting
 insurance in this state that offer the health benefit plans described in section 2 (7)(e) and (9)
 of this 2017 Act and other stakeholders.
     (4) The authority, in collaboration with the department, shall:
     (a) If funding is available, take any actions authorized by state law to implement the
 program described in subsection (2) of this section; and
     (b) Not later than November 1, 2017, report to the Speaker of the House of Represen-
 tatives, the President of the Senate and the interim committees of the Legislative Assembly
 related to health:
     (A) Any actions taken by the authority under paragraph (a) of this subsection; and
     (B) Recommendations for legislative changes necessary to fully implement the program
 described in subsection (2) of this section.
     SECTION 11. In addition to and not in lieu of any other appropriation, there is appro-
 priated to the Oregon Health Authority, for the biennium beginning July 1, 2017, out of the
 General Fund, the amount of $10,195,935, which may be expended for carrying out the pro-
 visions of section 5 of this 2017 Act.
     SECTION 12. Section 2 of this 2017 Act applies to health benefit plan policies or certif-
 icates issued, renewed, modified or extended on or after January 1, 2019.
     SECTION 13. (1) Sections 5 and 9 of this 2017 Act become operative on January 1, 2018.
     (2) The Oregon Health Authority shall take any action before January 1, 2018, that is
 necessary for the authority to implement the provisions of sections 5 and 9 of this 2017 Act
 on or after January 1, 2018.
     SECTION 14. Section 10 of this 2017 Act is repealed on January 2, 2019.
     SECTION 15. This 2017 Act being necessary for the immediate preservation of the public
 peace, health and safety, an emergency is declared to exist, and this 2017 Act takes effect
 on its passage.




 Passed by House July 1, 2017                                                                  Received by Governor:

                                                                                               ........................M.,........................................................., 2017
          ..................................................................................
                                                                                               Approved:
              Timothy G. Sekerak, Chief Clerk of House

                                                                                               ........................M.,........................................................., 2017

          ..................................................................................
                                    Tina Kotek, Speaker of House
                                                                                                            ..................................................................................
                                                                                                                                                     Kate Brown, Governor
 Passed by Senate July 5, 2017
                                                                                               Filed in Office of Secretary of State:

          ..................................................................................   ........................M.,........................................................., 2017
                          Peter Courtney, President of Senate


                                                                                                            ..................................................................................
                                                                                                                        Dennis Richardson, Secretary of State




 Enrolled House Bill 3391 (HB 3391-B)                                                                                                                                            Page 5




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                                    Exhibit B
                            Oregon Laws Chapter 721




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                                          OREGON LAWS 2017                                        Chap. 721


                       CHAPTER 721                            (e) Screening and appropriate counseling or
                                                          interventions for:
                         AN ACT             HB 3391           (A) Tobacco use; and
                                                              (B) Domestic and interpersonal violence.
Relating to reproductive health care; and declaring           (f) Folic acid supplements.
   an emergency.                                              (g) Abortion.
Be It Enacted by the People of the State of Or-               (h) Breastfeeding comprehensive support,
egon:                                                     counseling and supplies.
                                                              (i) Breast cancer chemoprevention coun-
   SECTION 1. Section 2 of this 2017 Act is               seling.
added to and made a part of the Insurance Code.               (j) Any contraceptive drug, device or product
                                                          approved by the United States Food and Drug
    SECTION 2. (1) As used in this section:               Administration, subject to all of the following:
    (a) “Contraceptives” means health care ser-               (A) If there is a therapeutic equivalent of a
vices, drugs, devices, products or medical pro-           contraceptive drug, device or product approved
cedures to prevent a pregnancy.                           by the United States Food and Drug Adminis-
    (b) “Enrollee” means an insured individual            tration, a health benefit plan may provide cov-
and the individual’s spouse, domestic partner             erage for either the requested contraceptive
and dependents who are beneficiaries under the            drug, device or product or for one or more
insured individual’s health benefit plan.                 therapeutic equivalents of the requested drug,
    (c) “Health benefit plan” has the meaning             device or product.
given that term in ORS 743B.005, excluding                    (B) If a contraceptive drug, device or product
Medicare Advantage Plans and including health             covered by the health benefit plan is deemed
benefit plans offering pharmacy benefits admin-           medically inadvisable by the enrollee’s provider,
istered by a third party administrator or phar-           the health benefit plan must cover an alterna-
macy benefit manager.                                     tive contraceptive drug, device or product pre-
    (d) “Religious employer” has the meaning              scribed by the provider.
given that term in ORS 743A.066.                              (C) A health benefit plan must pay pharmacy
    (2) A health benefit plan offered in this state       claims for reimbursement of all contraceptive
must provide coverage for all of the following            drugs available for over-the-counter sale that
services, drugs, devices, products and proce-             are approved by the United States Food and
dures:                                                    Drug Administration.
    (a) Well-woman care prescribed by the De-                 (D) A health benefit plan may not infringe
partment of Consumer and Business Services by             upon an enrollee’s choice of contraceptive drug,
rule consistent with guidelines published by the          device or product and may not require prior
United States Health Resources and Services               authorization, step therapy or other utilization
Administration.                                           control techniques for medically appropriate
    (b) Counseling for sexually transmitted in-           covered contraceptive drugs, devices or other
fections, including but not limited to human              products approved by the United States Food
immunodeficiency virus and acquired immune                and Drug Administration.
deficiency syndrome.                                          (k) Voluntary sterilization.
    (c) Screening for:                                        (L) As a single claim or combined with other
    (A) Chlamydia;                                        claims for covered services provided on the
    (B) Gonorrhea;                                        same day:
    (C) Hepatitis B;                                          (A) Patient education and counseling on
    (D) Hepatitis C;                                      contraception and sterilization.
    (E) Human immunodeficiency virus and ac-                  (B) Services related to sterilization or the
quired immune deficiency syndrome;                        administration and monitoring of contraceptive
    (F) Human papillomavirus;                             drugs, devices and products, including but not
    (G) Syphilis;                                         limited to:
    (H) Anemia;                                               (i) Management of side effects;
    (I) Urinary tract infection;                              (ii) Counseling for continued adherence to a
    (J) Pregnancy;                                        prescribed regimen;
    (K) Rh incompatibility;                                   (iii) Device insertion and removal; and
    (L) Gestational diabetes;                                 (iv) Provision of alternative contraceptive
    (M) Osteoporosis;                                     drugs, devices or products deemed medically
    (N) Breast cancer; and                                appropriate in the judgment of the enrollee’s
    (O) Cervical cancer.                                  provider.
    (d) Screening to determine whether coun-                  (m) Any additional preventive services for
seling related to the BRCA1 or BRCA2 genetic              women that must be covered without cost shar-
mutations is indicated and counseling related to          ing under 42 U.S.C. 300gg-13, as identified by the
the BRCA1 or BRCA2 genetic mutations if indi-             United States Preventive Services Task Force
cated.                                                    or the Health Resources and Services Adminis-


                                                      1
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Chap. 721                                OREGON LAWS 2017


tration of the United States Department of                   (9) An insurer may offer to a religious em-
Health and Human Services as of January 1,               ployer a health benefit plan that does not in-
2017.                                                    clude coverage for contraceptives or abortion
    (3) A health benefit plan may not impose on          procedures that are contrary to the religious
an     enrollee    a    deductible,   coinsurance,       employer’s religious tenets only if the insurer
copayment or any other cost-sharing require-             notifies in writing all employees who may be
ment on the coverage required by this section.           enrolled in the health benefit plan of the
A health care provider shall be reimbursed for           contraceptives and procedures the employer re-
providing the services described in this section         fuses to cover for religious reasons.
without     any    deduction    for   coinsurance,           (10) If the Department of Consumer and
copayments or any other cost-sharing amounts.            Business Services concludes that enforcement
    (4) Except as authorized under this section,         of this section may adversely affect the allo-
a health benefit plan may not impose any re-             cation of federal funds to this state, the depart-
strictions or delays on the coverage required by         ment may grant an exemption to the
this section.                                            requirements but only to the minimum extent
    (5) This section does not exclude coverage           necessary to ensure the continued receipt of
for contraceptive drugs, devices or products             federal funds.
prescribed by a provider, acting within the                  (11) An insurer that is subject to this section
provider’s scope of practice, for:                       shall make readily accessible to enrollees and
    (a) Reasons other than contraceptive pur-            potential enrollees, in a consumer-friendly for-
poses, such as decreasing the risk of ovarian            mat, information about the coverage of
cancer or eliminating symptoms of menopause;             contraceptives by each health benefit plan and
or                                                       the coverage of other services, drugs, devices,
    (b) Contraception that is necessary to pre-          products and procedures described in this sec-
serve the life or health of an enrollee.                 tion. The insurer must provide the information:
    (6) This section does not limit the authority            (a) On the insurer’s website; and
of the Department of Consumer and Business                   (b) In writing upon request by an enrollee or
Services to ensure compliance with ORS                   potential enrollee.
743A.063 and 743A.066.                                       (12) This section does not prohibit an insurer
    (7) This section does not require a health           from using reasonable medical management
benefit plan to cover:                                   techniques to determine the frequency, method,
    (a) Experimental or investigational treat-           treatment or setting for the coverage of ser-
ments;                                                   vices, drugs, devices, products and procedures
    (b) Clinical trials or demonstration projects,       described in subsection (2) of this section, other
except as provided in ORS 743A.192;                      than coverage required by subsection (2)(g) and
    (c) Treatments that do not conform to ac-            (j) of this section, if the techniques:
ceptable and customary standards of medical                  (a) Are consistent with the coverage re-
practice;                                                quirements of subsection (2) of this section; and
    (d) Treatments for which there is insufficient           (b) Do not result in the wholesale or indis-
data to determine efficacy; or                           criminate denial of coverage for a service.
    (e) Abortion if the insurer offering the
health benefit plan excluded coverage for                    SECTION 3. No later than September 15,
abortion in all of its individual, small employer        2019, the Department of Consumer and Business
                                                         Services shall report to the interim committees
and large employer group plans during the 2017           of the Legislative Assembly related to health on
plan year.                                               the degree of compliance by insurers with sec-
    (8) If services, drugs, devices, products or         tion 2 of this 2017 Act and of any actions taken
procedures required by this section are provided         by the department under ORS 731.988 to enforce
by an out-of-network provider, the health bene-          compliance with section 2 of this 2017 Act.
fit plan must cover the services, drugs, devices,
products or procedures without imposing any                 SECTION 4. Section 5 of this 2017 Act is
cost-sharing requirement on the enrollee if:             added to and made a part of ORS chapter 414.
    (a) There is no in-network provider to fur-
nish the service, drug, device, product or proce-            SECTION 5. (1) The Oregon Health Author-
dure that is geographically accessible or                ity shall administer a program to reimburse the
accessible in a reasonable amount of time, as            cost of medically appropriate services, drugs,
defined by the Department of Consumer and                devices, products and procedures described in
Business Services by rule consistent with the            section 2 of this 2017 Act, for individuals who
requirements for provider networks in ORS                can become pregnant and who would be eligible
743B.505; or                                             for medical assistance if not for 8 U.S.C. 1611 or
    (b) An in-network provider is unable or un-          1612.
willing to provide the service in a timely man-              (2) The authority shall provide the medical
ner.                                                     assistance for pregnant women that is author-


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ized by Title XXI, section 2112, of the Social Se-              (4) Interfere with or restrict, in the regu-
curity Act (42 U.S.C. 1397ll) for 60 days                   lation or provision of benefits, facilities, services
immediately postpartum.                                     or information, the choice of a health care pro-
    (3) The authority shall collect data and ana-           vider, who is acting within the scope of the
lyze the cost-effectiveness of the services, drugs,         health care provider’s license, to terminate or
devices, products and procedures paid for under             assist in the termination of a patient’s preg-
this section.                                               nancy.
    (4) The authority, in collaboration with the
Department of Consumer and Business Services                    SECTION 9. The Health Evidence Review
if necessary, shall explore any and all opportu-            Commission shall review the coverage described
nities to obtain federal financial participation in         in section 2 (2) of this 2017 Act and, no later
the costs of implementing this section, including           than November 1 of each even-numbered year,
but not limited to waivers or demonstration                 report to the interim committees of the Legis-
projects under Title X of the Public Health Ser-            lative Assembly related to health any recom-
vice Act or Title XIX or XXI of the Social Se-              mended changes to the coverage described in
curity Act. However, the implementation of this             section 2 (2) of this 2017 Act based upon the
section is not contingent upon the authority’s              latest clinical research.
receipt of a waiver or authorization to operate
a demonstration project.                                        SECTION 10. (1) As used in this section,
                                                            “health benefit plan” has the meaning given
    SECTION 6. Not later than September 15,                 that term in section 2 of this 2017 Act.
2018, the Oregon Health Authority shall report                  (2) In consultation with the Department of
to the interim committees of the Legislative                Consumer and Business Services, the Oregon
Assembly related to health on the implementa-               Health Authority shall design a program to
tion of section 5 of this 2017 Act.                         provide statewide access to abortion coverage
                                                            for Oregon residents enrolled in health benefit
    SECTION 7. (1) An individual may not, on                plans described in section 2 (7)(e) and (9) of this
the basis of actual or perceived race, color, na-           2017 Act.
tional origin, sex, sexual orientation, gender                  (3) In developing the design of the program
identity, age or disability, be excluded from               described in subsection (2) of this section, the
participation in, be denied the benefits of or              authority and the department shall consult with
otherwise be subjected to discrimination by any             consumer advocates, insurers transacting in-
health benefit plan issued or delivered in this             surance in this state that offer the health bene-
state, in the receipt of medical assistance as de-          fit plans described in section 2 (7)(e) and (9) of
fined in ORS 414.025 or in the coverage of or               this 2017 Act and other stakeholders.
payment for the services, drugs, devices, pro-                  (4) The authority, in collaboration with the
ducts and procedures described in section 2 of              department, shall:
this 2017 Act.                                                  (a) If funding is available, take any actions
    (2) Violation of this section is an unlawful            authorized by state law to implement the pro-
practice under ORS 659A.403.                                gram described in subsection (2) of this section;
    (3) Nothing in this section shall be construed          and
to invalidate or limit the rights, remedies, pro-               (b) Not later than November 1, 2017, report
cedures or legal standards available to individ-            to the Speaker of the House of Representatives,
uals under ORS 659A.820 or 659A.885 or to                   the President of the Senate and the interim
supersede state or local laws that provide addi-            committees of the Legislative Assembly related
tional protections against discrimination on any            to health:
basis described in subsection (1) of this section.              (A) Any actions taken by the authority un-
                                                            der paragraph (a) of this subsection; and
    SECTION 8. A public body as defined in ORS                  (B) Recommendations for legislative changes
174.109 or, except as provided in ORS 435.225, an
officer, employee or agent of a public body may             necessary to fully implement the program de-
not:                                                        scribed in subsection (2) of this section.
    (1) Deprive a consenting individual of the
choice of terminating the individual’s preg-                    SECTION 11. In addition to and not in lieu
nancy;                                                      of any other appropriation, there is appropriated
    (2) Interfere with or restrict, in the regu-            to the Oregon Health Authority, for the bien-
lation or provision of benefits, facilities, services       nium beginning July 1, 2017, out of the General
or information, the choice of a consenting indi-            Fund, the amount of $10,195,935, which may be
vidual to terminate the individual’s pregnancy;             expended for carrying out the provisions of sec-
    (3) Prohibit a health care provider, who is             tion 5 of this 2017 Act.
acting within the scope of the health care
provider’s license, from terminating or assisting               SECTION 12. Section 2 of this 2017 Act ap-
in the termination of a patient’s pregnancy; or             plies to health benefit plan policies or certif-


                                                        3
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icates issued, renewed, modified or extended on            SECTION 14. Section 10 of this 2017 Act is
or after January 1, 2019.                               repealed on January 2, 2019.
                                                            SECTION 15. This 2017 Act being necessary
    SECTION 13. (1) Sections 5 and 9 of this 2017       for the immediate preservation of the public
Act become operative on January 1, 2018.                peace, health and safety, an emergency is de-
    (2) The Oregon Health Authority shall take          clared to exist, and this 2017 Act takes effect on
any action before January 1, 2018, that is neces-       its passage.
sary for the authority to implement the pro-               Approved by the Governor August 15, 2017
                                                           Filed in the office of Secretary of State August 16, 2017
visions of sections 5 and 9 of this 2017 Act on            Effective date August 15, 2017
or after January 1, 2018.




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                                    Exhibit C
                                 H.B. 2002 Enrolled




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                        82nd OREGON LEGISLATIVE ASSEMBLY--2023 Regular Session



                                                       Enrolled
                                        House Bill 2002
 Sponsored by Representatives VALDERRAMA, NELSON, Senators LIEBER, STEINER; Represen-
    tatives ANDERSEN, BOWMAN, BYNUM, DEXTER, FAHEY, GAMBA, GOMBERG, GRAYBER,
    HARTMAN, HELM, HOLVEY, HUDSON, KROPF, MARSH, MCLAIN, NGUYEN D, NGUYEN
    H, NOSSE, PHAM H, PHAM K, REYNOLDS, RUIZ, SOSA, TRAN, WALTERS, Senators
    CAMPOS, DEMBROW, FREDERICK, GELSER BLOUIN, GOLDEN, GORSEK, JAMA, MAN-
    NING JR, MEEK, PATTERSON, PROZANSKI, SOLLMAN, TAYLOR, WAGNER, WOODS



                                        CHAPTER .................................................



                                                            AN ACT


 Relating to health; creating new provisions; amending ORS 15.430, 109.640, 161.005, 192.345, 192.820,
     192.822, 192.826, 243.144, 243.877, 418.307, 435.215, 435.225, 436.225, 659.880, 659A.029, 675.070,
     675.540, 675.745, 676.177, 677.190, 677.225, 677.320, 678.111, 685.110, 689.405 and 743A.067; re-
     pealing ORS 109.610, 109.660, 435.200 and 435.435; and declaring an emergency.
     Whereas nothing in the insurance provisions of this 2023 Act affects the age at which a minor
 may consent to receive health care services; now, therefore,

 Be It Enacted by the People of the State of Oregon:


                                  REPRODUCTIVE HEALTH RIGHTS

     SECTION 1. ORS 435.205 to 435.235 and 659.880 are added to and made a part of sections
 2 to 4 of this 2023 Act.
     SECTION 2. As used in sections 2 to 4 of this 2023 Act:
     (1) “Contraception” includes:
     (a) Steroidal, chemical, physical or barrier, natural or permanent methods for preventing
 the union of an ovum with the spermatozoon, or for preventing the subsequent implantation
 of the fertilized ovum in the uterus;
     (b) All postcoital methods, drugs or devices to prevent pregnancy; and
     (c) Any other process, device or method to prevent pregnancy.
     (2) “Public body” means a public body as defined in ORS 174.109 and the Oregon Health
 and Science University.
     (3) “Reproductive health” means reproductive processes, functions and systems at all
 stages of life.
     (4) “Reproductive health care” includes family planning and contraception, pregnancy
 termination services, prenatal, postnatal and delivery care, miscarriage management,
 fertility care, sterilization services, treatments for sexually transmitted infections and re-
 productive cancers and any other health care and medical services related to reproductive
 health.
     SECTION 3. Every individual has a fundamental right to make decisions about the
 individual’s reproductive health, including the right to make decisions about the individual’s

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 reproductive health care, to use or refuse contraception, to continue the individual’s preg-
 nancy and give birth or to terminate the individual’s pregnancy.
      SECTION 4. (1) Any person may bring an action against a public body, or an officer,
 employee or agent of a public body, for injunctive relief to enforce the requirements of
 sections 2 to 4 of this 2023 Act.
      (2) The court may award reasonable attorney fees and costs to a prevailing plaintiff in
 an action under this section.
      (3) ORS 30.260 to 30.300 apply to an action under this section.
      SECTION 5. ORS 659.880 is amended to read:
      659.880. (1) A public body [as defined in ORS 174.109] or, except as provided in ORS 435.225,
 an officer, employee or agent of a public body may not:
      [(1)] (a) Deprive a consenting individual of the choice of [terminating the individual’s
 pregnancy] exercising the individual’s reproductive health rights under section 3 of this 2023
 Act;
      [(2)] (b) Interfere with or restrict, in the regulation [or provision] of benefits, facilities, services
 or information, the choice of a consenting individual to [terminate the individual’s pregnancy] exer-
 cise the individual’s reproductive health rights under section 3 of this 2023 Act;
      [(3)] (c) Prohibit a health care provider, who is acting within the scope of the health care
 provider’s license, from [terminating or assisting in the termination of a patient’s pregnancy] provid-
 ing reproductive health care information and services to a consenting individual; [or]
      [(4)] (d) Interfere with or restrict, in the regulation [or provision] of benefits, facilities, services
 or information, the choice of a health care provider, who is acting within the scope of the health
 care provider’s license, [to terminate or assist in the termination of a patient’s pregnancy.] to provide
 reproductive health care information and services to a consenting individual;
      (e) Subject an individual to criminal or civil liability or penalty, or otherwise deprive the
 individual of any rights, based on the individual’s actions or omissions in exercising the
 individual’s reproductive health rights under section 3 of this 2023 Act, including any action
 or omission affecting an actual, potential or alleged pregnancy outcome; or
      (f) Subject any person to criminal or civil liability or penalty, or otherwise deprive any
 person of the person’s rights, based solely on the person’s actions in the provision of aid,
 assistance, resources or support to an individual in the exercise of the individual’s repro-
 ductive health rights, provided that the person’s actions do not otherwise violate the laws
 of this state.
      (2)(a) Nothing in this section is intended to prevent the application of laws, rules, ordi-
 nances or taxes that affect the method or manner of sales or distribution of contraceptive
 devices or the provision of reproductive health care, provided that the laws, rules, ordinances
 or taxes are designed to promote public health and safety and do not unreasonably burden
 public access to contraception or other reproductive health care.
      (b) Nothing in this section requires a public body to provide or pay for reproductive
 health care.
      SECTION 6. ORS 435.215 is amended to read:
      435.215. [The refusal of any person to accept family planning and birth control services shall in
 no way affect the right of such person to receive public assistance, medical assistance, as defined in
 ORS 414.025, or any other public benefit and every person to whom such services are offered shall be
 so advised initially both orally and in writing. Employees engaged in the administration of ORS
 435.205 to 435.235 shall recognize that the right to make decisions concerning family planning and
 birth control is a fundamental personal right of the individual and nothing in ORS 435.205 to 435.235
 shall in any way abridge such individual right, nor shall any individual be required to state the reason
 for refusing the offer of family planning and birth control services.]
      (1) An individual’s acceptance or refusal to accept reproductive health care information
 and services may not:

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     (a) Be grounds for the loss of any privilege or immunity to which the individual is oth-
 erwise entitled; or
     (b) Affect the individual’s right to receive public assistance, medical assistance, as de-
 fined in ORS 414.025, or any other public benefit.
     (2) An officer, employee or agent of a public body who is engaged in the provision of re-
 productive health care information and services:
     (a) Shall advise every individual to whom the officer, employee or agent of a public body
 provides reproductive health care information and services, both orally and in writing, of the
 rights described under subsection (1) of this section;
     (b) Shall recognize that the right to make decisions concerning reproductive health care
 is a fundamental personal right of the individual and that nothing in ORS 435.475 or 435.485
 or sections 2 to 4 of this 2023 Act or ORS chapter 436 in any way abridges that right; and
     (c) May not require any individual to state the reason for accepting or refusing the offer
 of reproductive health care information and services.
     SECTION 7. ORS 435.225 is amended to read:
     435.225. (1) [Any employee of the Oregon Health Authority] An officer, employee or agent of
 a public body may refuse to accept the duty of offering [family planning and birth control] repro-
 ductive health care information and services to the extent that such duty is contrary to the
 personal or religious beliefs of the [employee] officer, employee or agent. However, such
 [employee] officer, employee or agent shall notify the immediate supervisor in writing of such re-
 fusal in order that arrangements may be made for eligible [persons] individuals to obtain such in-
 formation and services from another officer, employee or agent.
     (2) If an officer, employee or agent of a public body refuses to provide reproductive health
 care information and services as provided in subsection (1) of this section, the public body
 shall immediately make arrangements for an individual to receive reproductive health care
 information and services from another officer, employee or agent of the public body.
     (3) [Such refusal shall] The refusal of an officer, employee or agent of a public body to
 provide reproductive health care information and services under subsection (1) of this sec-
 tion may not be grounds for any disciplinary action, for dismissal, for any interdepartmental
 transfer, for any other discrimination in employment, or for suspension from employment, or for any
 loss in pay or other benefits.
     SECTION 8. ORS 109.640, as amended by section 14, chapter 349, Oregon Laws 2021, is
 amended to read:
     109.640. (1) As used in this section, “reproductive health care” has the meaning given that
 term in section 2 of this 2023 Act, except that “reproductive health care” does not include
 the elective sterilization of a minor under 15 years of age.
     [(1)] (2)(a) As used in this subsection, “health care provider” means a physician, physician
 assistant licensed under ORS 677.505 to 677.525, nurse practitioner licensed under ORS
 678.375 to 678.390 or a pharmacist licensed under ORS chapter 689.
     (b) A minor under 15 years of age may give consent, without the consent of a parent or
 guardian of the minor, to an abortion only if the abortion is provided by a health care pro-
 vider who is acting within the health care provider’s scope of practice and who reasonably
 believes, in the health care provider’s professional judgment, that:
     (A) Involving the parent or guardian of the minor may result in the physical or emotional
 abuse of the minor or the neglect of the minor; or
     (B) Requiring the consent of a parent or guardian of the minor would not be in the best
 interest of the minor, for the reasons documented by the health care provider after obtaining
 the concurrence of another health care provider who is associated with a separate medical
 practice or facility.
     (3) Except as provided in subsection (2) of this section and notwithstanding subsection
 (4) of this section, a minor of any age may give consent, without the consent of a parent or
 guardian of the minor, to receive reproductive health care information and services from a

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 health care provider who is a physician, physician assistant licensed under ORS 677.505 to 677.525,
 nurse practitioner licensed under ORS 678.375 to 678.390, pharmacist licensed under ORS chapter
 689 or naturopathic physician licensed under ORS chapter 685 [may provide birth control information
 and services to any person without regard to the age of the person], and who is acting within the
 provider’s scope of practice.
      [(2)] (4) A minor 15 years of age or older may give consent, without the consent of a parent or
 guardian of the minor, to:
      (a) Hospital care, medical or surgical diagnosis or treatment by a physician licensed by the
 Oregon Medical Board or a naturopathic physician licensed under ORS chapter 685, and dental or
 surgical diagnosis or treatment by a dentist licensed by the Oregon Board of Dentistry[, except as
 provided by ORS 109.660].
      (b) Diagnosis or treatment by a physician assistant who is licensed under ORS 677.505 to 677.525
 and who is acting pursuant to a collaboration agreement as defined in ORS 677.495.
      (c) Diagnosis and treatment by a nurse practitioner who is licensed by the Oregon State Board
 of Nursing under ORS 678.375 and who is acting within the scope of practice for a nurse practi-
 tioner.
      (d) Except when the minor is obtaining contact lenses for the first time, diagnosis and treatment
 by an optometrist who is licensed by the Oregon Board of Optometry under ORS 683.010 to 683.340
 and who is acting within the scope of practice for an optometrist.
      (5) If a person, including a health care provider, has reasonable cause to believe that a
 minor the person comes into contact with under this section has suffered abuse, as defined
 in ORS 419B.005, the person shall immediately comply with the person’s mandatory child
 abuse reporting duties under ORS 419B.010.
      NOTE: Section 9 was deleted by amendment. Subsequent sections were not renumbered.
      SECTION 10. ORS 418.307 is amended to read:
      418.307. (1) A physician licensed by the Oregon Medical Board, a naturopathic physician li-
 censed under ORS chapter 685, a dentist licensed by the Oregon Board of Dentistry or a hospital
 licensed by the Department of Human Services is authorized to treat a child who is ward of the
 court or is a dependent or delinquent child in accord with the best medical judgment of the physi-
 cian, naturopathic physician, dentist or responsible official of the hospital and without consent if:
      (a) Because of the general state of the child’s health or any particular condition, the physician,
 naturopathic physician, dentist or responsible official of the hospital determines that in the medical
 judgment of the physician, naturopathic physician, dentist or responsible official prompt action is
 reasonably necessary to avoid unnecessary suffering or discomfort or to effect a more expedient or
 effective cure; and
      (b) It is impossible or highly impractical to obtain consent for treating the child from the
 child-caring agency, the child’s parent or the child’s legal guardian.
      (2) No charge of assault or battery shall be made against a physician, naturopathic physician,
 dentist or hospital official or employee who provides medical treatment pursuant to subsection (1)
 of this section.
      (3) A minor child described in subsection (1) of this section [who is 15 years of age or older] may
 consent to medical treatment [pursuant to] as provided in ORS 109.640.
      SECTION 11. ORS 436.225 is amended to read:
      436.225. (1) In obtaining informed consent for sterilization a physician, physician assistant or
 nurse practitioner must offer to answer any questions the individual to be sterilized may have con-
 cerning the proposed procedure, and must provide orally all of the following information or advice
 to the individual to be sterilized:
      (a) Advice that the individual is free to withhold or withdraw consent to the procedure at any
 time before the sterilization without affecting the right to future care or treatment;
      (b) A description of available alternative methods of family planning and birth control;
      (c) Advice that the sterilization procedure is considered to be irreversible;
      (d) A thorough explanation of the specific sterilization procedure to be performed;

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     (e) A full description of the discomforts and risks that may accompany or follow the performing
 of the procedure, including an explanation of the type and possible effects of any anesthetic to be
 used; and
     (f) A full description of the benefits or advantages that may be expected as a result of the
 sterilization.
     (2) A natural parent, or a legal guardian or conservator of a minor child or protected person
 appointed under ORS chapter 125, may not give substitute consent for sterilization.
     (3) Whenever any physician, physician assistant or nurse practitioner has reason to believe an
 individual 15 years of age or older is unable to give informed consent, no sterilization shall be per-
 formed until it is determined by a circuit court that the individual involved is able to and has given
 informed consent. Whenever the court determines, under the provisions of this chapter, that a
 person lacks the ability to give informed consent, the court shall permit sterilization only if the
 person is 18 years of age or older and only upon showing that such operation, treatment or proce-
 dure is in the best interest of the individual.
     (4) Notwithstanding section 3 of this 2023 Act, informed consent may not be obtained while
 the individual to be sterilized is:
     (a) In labor or childbirth;
     (b) Seeking to obtain or obtaining an abortion; or
     (c) Under the influence of alcohol or other substances that affect the individual’s state of
 awareness.
     SECTION 12. ORS 743A.067, as amended by section 12, chapter 45, Oregon Laws 2022, is
 amended to read:
     743A.067. (1) As used in this section:
     (a) “Contraceptives” means health care services, drugs, devices, products or medical procedures
 to prevent a pregnancy.
     (b) “Enrollee” means an insured individual and the individual’s spouse, domestic partner and
 dependents who are beneficiaries under the insured individual’s health benefit plan.
     (c) “Health benefit plan” has the meaning given that term in ORS 743B.005, excluding Medicare
 Advantage Plans and including health benefit plans offering pharmacy benefits administered by a
 third party administrator or pharmacy benefit manager.
     (d) “Prior authorization” has the meaning given that term in ORS 743B.001.
     (e) “Religious employer” has the meaning given that term in ORS 743A.066.
     (f) “Utilization review” has the meaning given that term in ORS 743B.001.
     (2) A health benefit plan offered in this state must provide coverage for all of the following
 services, drugs, devices, products and procedures:
     (a) Well-woman care prescribed by the Department of Consumer and Business Services by rule
 consistent with guidelines published by the United States Health Resources and Services Adminis-
 tration.
     (b) Counseling for sexually transmitted infections, including but not limited to human
 immunodeficiency virus and acquired immune deficiency syndrome.
     (c) Screening for:
     (A) Chlamydia;
     (B) Gonorrhea;
     (C) Hepatitis B;
     (D) Hepatitis C;
     (E) Human immunodeficiency virus and acquired immune deficiency syndrome;
     (F) Human papillomavirus;
     (G) Syphilis;
     (H) Anemia;
     (I) Urinary tract infection;
     (J) Pregnancy;
     (K) Rh incompatibility;

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      (L) Gestational diabetes;
      (M) Osteoporosis;
      (N) Breast cancer; and
      (O) Cervical cancer.
      (d) Screening to determine whether counseling related to the BRCA1 or BRCA2 genetic
 mutations is indicated and counseling related to the BRCA1 or BRCA2 genetic mutations if indi-
 cated.
      (e) Screening and appropriate counseling or interventions for:
      (A) Tobacco use; and
      (B) Domestic and interpersonal violence.
      (f) Folic acid supplements.
      (g) Abortion.
      (h) Breastfeeding comprehensive support, counseling and supplies.
      (i) Breast cancer chemoprevention counseling.
      (j) Any contraceptive drug, device or product approved by the United States Food and Drug
 Administration, subject to all of the following:
      (A) If there is a therapeutic equivalent of a contraceptive drug, device or product approved by
 the United States Food and Drug Administration, a health benefit plan may provide coverage for
 either the requested contraceptive drug, device or product or for one or more therapeutic equiv-
 alents of the requested drug, device or product.
      (B) If a contraceptive drug, device or product covered by the health benefit plan is deemed
 medically inadvisable by the enrollee’s provider, the health benefit plan must cover an alternative
 contraceptive drug, device or product prescribed by the provider.
      (C) A health benefit plan must pay pharmacy claims for reimbursement of all contraceptive
 drugs available for over-the-counter sale that are approved by the United States Food and Drug
 Administration.
      (D) A health benefit plan may not infringe upon an enrollee’s choice of contraceptive drug, de-
 vice or product and may not require prior authorization, step therapy or other utilization review
 techniques for medically appropriate covered contraceptive drugs, devices or other products ap-
 proved by the United States Food and Drug Administration.
      (k) Voluntary sterilization.
      (L) As a single claim or combined with other claims for covered services provided on the same
 day:
      (A) Patient education and counseling on contraception and sterilization.
      (B) Services related to sterilization or the administration and monitoring of contraceptive drugs,
 devices and products, including but not limited to:
      (i) Management of side effects;
      (ii) Counseling for continued adherence to a prescribed regimen;
      (iii) Device insertion and removal; and
      (iv) Provision of alternative contraceptive drugs, devices or products deemed medically appro-
 priate in the judgment of the enrollee’s provider.
      (m) Any additional preventive services for women that must be covered without cost sharing
 under 42 U.S.C. 300gg-13, as identified by the United States Preventive Services Task Force or the
 Health Resources and Services Administration of the United States Department of Health and Hu-
 man Services as of January 1, 2017.
      (3) A health benefit plan may not impose on an enrollee a deductible, coinsurance, copayment
 or any other cost-sharing requirement on the coverage required by this section. A health care pro-
 vider shall be reimbursed for providing the services described in this section without any deduction
 for coinsurance, copayments or any other cost-sharing amounts.
      (4) Except as authorized under this section, a health benefit plan may not impose any re-
 strictions or delays on the coverage required by this section.

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      (5) This section does not exclude coverage for contraceptive drugs, devices or products pre-
 scribed by a provider, acting within the provider’s scope of practice, for:
      (a) Reasons other than contraceptive purposes, such as decreasing the risk of ovarian cancer
 or eliminating symptoms of menopause; or
      (b) Contraception that is necessary to preserve the life or health of an enrollee.
      (6) This section does not limit the authority of the Department of Consumer and Business Ser-
 vices to ensure compliance with ORS 743A.063 and 743A.066.
      (7) This section does not require a health benefit plan to cover:
      (a) Experimental or investigational treatments;
      (b) Clinical trials or demonstration projects, except as provided in ORS 743A.192;
      (c) Treatments that do not conform to acceptable and customary standards of medical practice;
      (d) Treatments for which there is insufficient data to determine efficacy; or
      (e) Abortion if the insurer offering the health benefit plan:
      (A) Has a certificate of authority to transact insurance in this state issued by the De-
 partment of Consumer and Business Services; and
      (B) Excluded coverage for abortion in all of its individual, small employer and large employer
 group plans during the 2017 plan year.
      (8) If services, drugs, devices, products or procedures required by this section are provided by
 an out-of-network provider, the health benefit plan must cover the services, drugs, devices, products
 or procedures without imposing any cost-sharing requirement on the enrollee if:
      (a) There is no in-network provider to furnish the service, drug, device, product or procedure
 that is geographically accessible or accessible in a reasonable amount of time, as defined by the
 Department of Consumer and Business Services by rule consistent with the requirements for pro-
 vider networks in ORS 743B.505; or
      (b) An in-network provider is unable or unwilling to provide the service in a timely manner.
      (9) An insurer may offer to a religious employer a health benefit plan that does not include
 coverage for contraceptives or abortion procedures that are contrary to the religious employer’s
 religious tenets only if the insurer notifies in writing all employees who may be enrolled in the
 health benefit plan of the contraceptives and procedures the employer refuses to cover for religious
 reasons.
      (10) If the Department of Consumer and Business Services concludes that enforcement of this
 section may adversely affect the allocation of federal funds to this state, the department may grant
 an exemption to the requirements but only to the minimum extent necessary to ensure the continued
 receipt of federal funds.
      (11) An insurer that is subject to this section shall make readily accessible to enrollees and
 potential enrollees, in a consumer-friendly format, information about the coverage of contraceptives
 by each health benefit plan and the coverage of other services, drugs, devices, products and proce-
 dures described in this section. The insurer must provide the information:
      (a) On the insurer’s website; and
      (b) In writing upon request by an enrollee or potential enrollee.
      (12) This section does not prohibit an insurer from using reasonable medical management tech-
 niques to determine the frequency, method, treatment or setting for the coverage of services, drugs,
 devices, products and procedures described in subsection (2) of this section, other than coverage
 required by subsection (2)(g) and (j) of this section, if the techniques:
      (a) Are consistent with the coverage requirements of subsection (2) of this section; and
      (b) Do not result in the wholesale or indiscriminate denial of coverage for a service.
      (13) This section is exempt from ORS 743A.001.

                                 REPRODUCTIVE HEALTH SERVICES

    NOTE: Sections 13 through 18 were deleted by amendment. Subsequent sections were not re-
 numbered.

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                                        (Gender-Affirming Treatment)

      SECTION 19. Section 20 of this 2023 Act is added to and made a part of the Insurance
 Code.
      SECTION 20. (1) As used in this section:
      (a) “Carrier” has the meaning given that term in ORS 743B.005.
      (b) “Gender-affirming treatment” means a procedure, service, drug, device or product
 that a physical or behavioral health care provider prescribes to treat an individual for
 incongruence between the individual’s gender identity and the individual’s sex assignment
 at birth.
      (c) “Health benefit plan” has the meaning given that term in ORS 743B.005.
      (2) A carrier offering a health benefit plan in this state may not:
      (a) Deny or limit coverage under the plan for gender-affirming treatment that is:
      (A) Medically necessary as determined by the physical or behavioral health care provider
 who prescribes the treatment; and
      (B) Prescribed in accordance with accepted standards of care.
      (b) Apply categorical cosmetic or blanket exclusions to medically necessary gender-
 affirming treatment.
      (c) Exclude as a cosmetic service a medically necessary procedure prescribed by a phys-
 ical or behavioral health care provider as gender-affirming treatment, including but not
 limited to:
      (A) Tracheal shave;
      (B) Hair electrolysis;
      (C) Facial feminization surgery or other facial gender-affirming treatment;
      (D) Revisions to prior forms of gender-affirming treatment; and
      (E) Any combination of gender-affirming treatment procedures.
      (d) Issue an adverse benefit determination denying or limiting access to gender-affirming
 treatment unless a physical or behavioral health care provider with experience prescribing
 or delivering gender-affirming treatment has first reviewed and approved the denial of or the
 limitation on access to the treatment.
      (3) A carrier described in subsection (2) of this section must:
      (a) Satisfy any network adequacy standards under ORS 743B.505 related to gender-
 affirming treatment providers; and
      (b)(A) Contract with a network of gender-affirming treatment providers that is sufficient
 in numbers and geographic locations to ensure that gender-affirming treatment services are
 accessible to all enrollees without unreasonable delay; or
      (B) Ensure that all enrollees have geographical access without unreasonable delay to
 out-of-network gender-affirming treatment services with cost-sharing or other out-of-pocket
 costs for the services no greater than the cost-sharing or other out-of-pocket costs for the
 services when furnished by an in-network provider.
      (4) The Department of Consumer and Business Services shall:
      (a) Evaluate compliance with this section in each examination or analysis of the market
 conduct of a carrier under ORS 731.300; and
      (b) Adopt rules to implement the provisions of this section.
      (5) This section is exempt from ORS 743A.001.
      SECTION 21. The Department of Consumer and Business Services shall conduct a tar-
 geted market conduct examination of all carriers that are subject to the requirements of
 section 20 of this 2023 Act to ensure compliance with section 20 of this 2023 Act. The exam-
 inations must be completed no later than January 2, 2027.
      SECTION 22. No later than December 31, 2026, the Department of Consumer and Busi-
 ness Services shall report to the interim committees of the Legislative Assembly related to

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 health, in the manner provided in ORS 192.245, on the implementation of section 20 of this
 2023 Act.
     SECTION 23. Section 24 of this 2023 Act is added to and made a part of ORS chapter 414.
     SECTION 24. (1) As used in this section, “gender-affirming treatment” means a proce-
 dure, service, drug, device or product that a physical or behavioral health care provider
 prescribes to treat an individual for incongruence between the individual’s gender identity
 and the individual’s sex assignment at birth.
     (2) Notwithstanding ORS 414.065 and 414.690, medical assistance provided to a member
 of a coordinated care organization or a medical assistance recipient who is not enrolled in a
 coordinated care organization shall include gender-affirming treatment.
     (3) The Oregon Health Authority or a coordinated care organization may not:
     (a) Deny or limit gender-affirming treatment that is:
     (A) Medically necessary as determined by the physical or behavioral health care provider
 who prescribes the treatment; and
     (B) Prescribed in accordance with accepted standards of care.
     (b) Deny as a cosmetic service a medically necessary procedure prescribed by a physical
 or behavioral health care provider as gender-affirming treatment, including but not limited
 to:
     (A) Tracheal shave;
     (B) Hair electrolysis;
     (C) Facial feminization surgery or other facial gender-affirming treatment;
     (D) Revisions to prior forms of gender-affirming treatment; and
     (E) Any combination of gender-affirming treatment procedures.
     (c) Deny or limit gender-affirming treatment unless a physical or behavioral health care
 provider with experience prescribing or delivering gender-affirming treatment has first re-
 viewed and approved the denial of or the limitation on the treatment.
     (4) A coordinated care organization must:
     (a) Contract with a network of gender-affirming treatment providers that is sufficient in
 numbers and geographic locations to meet the network adequacy standards prescribed by
 ORS 414.609 (1); and
     (b)(A) Ensure that gender-affirming treatment services are accessible to all of the coor-
 dinated care organization’s members without unreasonable delay; or
     (B) Ensure that all members have geographical access to non-contracting providers of
 gender-affirming treatment services without unreasonable delay.
     (5) The authority shall monitor coordinated care organization compliance with the re-
 quirements of this section and may adopt rules necessary to carry out the provisions of this
 section.
     SECTION 25. ORS 243.144, as amended by section 2, chapter 72, Oregon Laws 2022, is amended
 to read:
     243.144. Benefit plans offered by the Public Employees’ Benefit Board that reimburse the cost
 of medical and other health services and supplies must comply with the requirements for health
 benefit plan coverage described in:
     (1) ORS 743A.058;
     (2) ORS 743B.256;
     (3) ORS 743B.420;
     (4) ORS 743B.423;
     (5) ORS 743B.601;
     (6) ORS 743B.810; [and]
     (7) ORS 743B.287 (4); and
     (8) Section 20 of this 2023 Act.
     SECTION 26. ORS 243.877, as amended by section 3, chapter 72, Oregon Laws 2022, is amended
 to read:

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     243.877. Benefit plans offered by the Oregon Educators Benefit Board that reimburse the cost
 of medical and other health services and supplies must comply with the requirements for health
 benefit plan coverage described in:
     (1) ORS 743A.058;
     (2) ORS 743B.256;
     (3) ORS 743B.420;
     (4) ORS 743B.423;
     (5) ORS 743B.601;
     (6) ORS 743B.810; [and]
     (7) ORS 743B.287 (4); and
     (8) Section 20 of this 2023 Act.

                                          (Contraceptives)

     SECTION 27. Section 28 of this 2023 Act is added to and made a part of ORS chapter 414.
     SECTION 28. (1) As used in this section, “prescription contraceptive” means a drug or
 device that requires a prescription and is approved by the United States Food and Drug Ad-
 ministration to prevent pregnancy.
     (2) In determining the extent of prescription drugs to be provided in medical assistance,
 in accordance with ORS 414.065, the Oregon Health Authority shall ensure payment for a
 dispensing of prescription contraceptives, to an individual enrolled in the medical assistance
 program, that is sufficient to last for a period of 12 calendar months.
     NOTE: Sections 29 and 30 were deleted by amendment. Subsequent sections were not renum-
 bered.

                       PROTECTIONS FOR PROVIDERS AND INDIVIDUALS
                             (Malpractice insurance and licensing)

     SECTION 31. An insurer that provides malpractice insurance for a health care provider
 for care provided in this state may not take any adverse action, including but not limited to
 sanctions, fines, penalties, rate increases or denial or revocation of coverage, against a
 health care provider authorized to provide care in this state if the adverse action is:
     (1) Based solely on the health care provider’s providing, authorizing, recommending,
 aiding, assisting, referring for or otherwise participating in a reproductive or gender-
 affirming health care service that is lawful in this state but unlawful in the jurisdiction in
 which the health care provider provided the service, so long as the service provided was
 performed in accordance with the standard of care applicable to the service; or
     (2) A result of an adverse action taken against the health care provider’s license issued
 by another state that resulted solely from the health care provider’s providing, authorizing,
 recommending, aiding, assisting, referring for or otherwise participating in a reproductive
 or gender-affirming health care service that is lawful in this state but provided to a resident
 of a jurisdiction in which the service is unlawful or is unlawful in the jurisdiction in which
 the health care provider provided the service, so long as the service provided was performed
 in accordance with the standard of care applicable to the service.
     SECTION 31a. ORS 675.070 is amended to read:
     675.070. (1) If any of the grounds enumerated in subsection (2) of this section exist, the Oregon
 Board of Psychology may impose any of the following sanctions:
     (a) Deny a license to an applicant;
     (b) Refuse to renew the license of a psychologist or psychologist associate;
     (c) Suspend the license of a psychologist or psychologist associate for a period of not less than
 one year;
     (d) Issue a letter of reprimand;

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     (e) Impose probation with authority to restrict the scope of practice of a psychologist or psy-
 chologist associate or require practice under supervision;
     (f) Revoke the license of a psychologist or psychologist associate; or
     (g) Impose a civil penalty as described in subsection (3) of this section.
     (2) Subject to subsection (7) of this section, the board may impose a sanction listed in sub-
 section (1) of this section against a psychologist or psychologist associate or applicant, or, if appli-
 cable, an unlicensed person found in violation of ORS 675.010 to 675.150, when, in the judgment of
 the board, the person:
     (a) Has an impairment as defined in ORS 676.303;
     (b) Has been convicted of violation of a law relating to controlled substances;
     (c) Has been convicted of a felony or misdemeanor involving moral turpitude;
     (d) Is guilty of immoral or unprofessional conduct or of gross negligence in the practice of psy-
 chology, including but not limited to:
     (A) Conduct or practice contrary to recognized standard of ethics of the psychological profes-
 sion or conduct or practice that constitutes a danger to the health or safety of a patient or the
 public, or conduct, practice or a condition that adversely affects a psychologist or psychologist
 associate’s ability to practice psychology safely and skillfully.
     (B) Willful ordering or performing of unnecessary tests or studies, administration of unnecessary
 treatment, failure to obtain consultations or perform referrals when failing to do so is not consistent
 with the standard of care, or otherwise ordering or performing a psychological service or treatment
 that is contrary to recognized standards of practice of the psychological profession;
     (e) Has practiced or attempted to practice medicine without being licensed to do so;
     (f) Has obtained or attempted to obtain a license under ORS 675.010 to 675.150 by fraud or ma-
 terial misrepresentation;
     (g) Has impersonated a licensed psychologist or psychologist associate or has allowed another
 person to use the license of the psychologist;
     (h) Has violated a provision of ORS 675.010 to 675.150 or 675.850 or a provision of the code of
 professional conduct formulated under ORS 675.110 (13);
     (i) Has obtained a fee or payment from a patient or third party payer through fraud or inten-
 tional misrepresentation; or
     (j) Notwithstanding ORS 670.280, has been convicted of a sex crime as defined in ORS 163A.005
 or has been convicted in another state or jurisdiction of a crime that is substantially equivalent to
 a sex crime as defined in ORS 163A.005.
     (3) The board may impose a civil penalty under subsection (1) of this section:
     (a) In an amount not to exceed $5,000; or
     (b) In an amount not to exceed $10,000, if any of the following conditions exist:
     (A) The conduct giving rise to the penalty had a serious detrimental effect on the health or
 safety of another person;
     (B) The person subject to the penalty has a history of discipline for the same or similar conduct;
     (C) The conduct giving rise to the penalty involves a willful or reckless disregard of the law;
     (D) The conduct giving rise to the penalty was perpetrated against a minor, an elderly person
 or a person with a disability; or
     (E) The person subject to the penalty violated ORS 675.020 by practicing psychology or repres-
 enting that the person is a psychologist without having a license.
     (4) Except as provided in subsection (7) of this section, if a conviction described in sub-
 section (2) of this section is used as grounds for denial, refusal, suspension, revocation, reprimand,
 probation or imposition of a civil penalty, a certified copy of the record of the conviction shall be
 conclusive evidence.
     (5) The board may license an applicant or renew or restore a license suspended or revoked un-
 der subsection (2)(a) of this section due to a mental health condition if the board determines that
 the applicant or former licensed psychologist or former psychologist associate no longer has an
 impairment due to a mental health condition.

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      (6) Except as provided in subsection (7) of this section, license suspension or revocation in
 another state is grounds for license denial or disciplinary action by the board.
      (7) The board may not suspend or revoke a person’s license to practice psychology, or
 refuse to grant a license to practice psychology to a person, because of a conviction or li-
 cense suspension or revocation resulting solely from the person’s provision of psychological
 services relating to reproductive or gender-affirming health care that are otherwise lawful
 in this state but unlawful in the jurisdiction in which the person provided the services, so
 long as the services provided were performed in accordance with the standard of care appli-
 cable to the services.
      SECTION 31b. ORS 675.540 is amended to read:
      675.540. (1) Subject to subsection (8) of this section, the State Board of Licensed Social
 Workers may impose any or all of the sanctions specified in subsection (2) of this section, upon
 proof, after a hearing pursuant to the provisions of ORS chapter 183 relating to a contested case,
 that a regulated social worker:
      (a) Has been convicted in this or any other state of a crime that is a felony in this state;
      (b) Has been convicted of a felony in a federal court;
      (c) Is unable to perform the practice of social work by reason of physical illness;
      (d) Has an impairment as defined in ORS 676.303;
      (e) Has been grossly negligent or has engaged in unprofessional conduct in the practice of social
 work;
      (f) Has violated any provision of ORS 675.510 to 675.600 or 675.850 or any rule adopted under
 ORS 675.600; or
      (g) Notwithstanding ORS 670.280, has been convicted of a sex crime as defined in ORS 163A.005
 or has been convicted in another state or jurisdiction of a crime that is substantially equivalent to
 a sex crime as defined in ORS 163A.005.
      (2) Pursuant to the provisions of subsection (1) of this section, the board may:
      (a) Deny, suspend, revoke or refuse to renew any authorization to practice regulated social work
 issued under ORS 675.510 to 675.600.
      (b) Place a regulated social worker on probation and impose conditions or limits on the scope
 of practice of a regulated social worker.
      (c) Impose a civil penalty not to exceed $3,000 for each violation.
      (3) The expiration, or voluntary surrender by a regulated social worker, of an authorization to
 practice regulated social work does not deprive the board of jurisdiction to proceed with any in-
 vestigation of, or any action or disciplinary proceedings against, the regulated social worker.
      (4) Information that the board obtains as part of an investigation into the conduct of a regulated
 social worker or an applicant for an authorization to practice regulated social work or as part of
 a contested case proceeding, consent order or stipulated agreement involving the conduct of a reg-
 ulated social worker or applicant, is confidential as provided under ORS 676.175.
      (5) Subject to the provisions of ORS chapter 183 relating to a contested case, the board may
 impose a civil penalty in an amount up to $5,000 upon proof that, after a person’s authorization to
 practice regulated social work has been revoked by the board, the person has:
      (a) Engaged in the practice of clinical social work; or
      (b) Represented that the person is a regulated social worker.
      (6) Subject to the provisions of ORS chapter 183 relating to a contested case, the board may
 impose a civil penalty of up to $3,000 upon proof that a person who is not a regulated social worker
 has:
      (a) Represented that the person is a regulated social worker; or
      (b) Used the title “social worker” or any title, words or abbreviations that indicate that the
 person has an authorization to practice regulated social work in violation of ORS 675.520.
      (7) Subject to the provisions of ORS chapter 183 relating to a contested case, the board may
 impose a civil penalty of up to $5,000 upon proof that a person who is not a clinical social worker
 licensed under ORS 675.530 or a clinical social work associate certified under ORS 675.537 has:

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      (a) Engaged in the practice of clinical social work, unless the person is permitted to practice
 clinical social work under ORS 675.523; or
      (b) Represented that the person is a clinical social worker or clinical social work associate.
      (8)(a) As used in this section, “social work services” means clinical social work, the
 practice of baccalaureate social work, the practice of master’s social work or the practice
 of social work.
      (b) The board may not suspend or revoke a person’s authorization to practice regulated
 social work, or refuse to grant a person an authorization to practice regulated social work,
 because of a conviction or license suspension or revocation resulting solely from the person’s
 provision of social work services relating to reproductive or gender-affirming health care
 that are otherwise lawful in this state but unlawful in the jurisdiction in which the person
 provided the services, so long as the services provided were performed in accordance with
 the standard of care applicable to the services.
      SECTION 31c. ORS 675.745 is amended to read:
      675.745. (1) The Oregon Board of Licensed Professional Counselors and Therapists may deny,
 suspend, revoke or refuse to issue or to renew any license issued under ORS 675.715 to 675.835 upon
 proof that the applicant for licensure or the licensee:
      (a) Except as provided in subsection (8) of this section, has been convicted of violating ORS
 675.825 or of a crime in this or any other state or territory or against the federal government that
 brings into question the competence of the licensee in the role of a counselor or a therapist;
      (b) Is unable to perform the practice of professional counseling or marriage and family therapy
 by reason of physical illness;
      (c) Has an impairment as defined in ORS 676.303;
      (d) Has been grossly negligent in the practice of professional counseling or marriage and family
 therapy;
      (e) Has violated any provision of ORS 675.715 to 675.835 or 675.850;
      (f) Has violated any rule of the board pertaining to the licensure of professional counselors or
 licensed marriage and family therapists;
      (g) Has failed to file a professional disclosure statement or has filed a false, incomplete or mis-
 leading professional disclosure statement;
      (h) Has practiced outside the scope of activities, including administering, constructing or inter-
 preting tests or diagnosing or treating mental disorders, for which the licensee has individual
 training and qualification;
      (i) Except as provided in subsection (8) of this section, has been disciplined by a state
 mental health licensing board or program in this or any other state for violation of competency or
 conduct standards; or
      (j) Notwithstanding ORS 670.280, has been convicted of a sex crime as defined in ORS 163A.005
 or has been convicted in another state or jurisdiction of a crime that is substantially equivalent to
 a sex crime as defined in ORS 163A.005.
      (2)(a) The board may reprimand or impose probation on a licensee or a registered associate upon
 proof of any of the grounds for discipline provided in subsection (1) of this section.
      (b) If the board elects to place a licensee or a registered associate on probation, the board may
 impose:
      (A) Restrictions on the scope of practice of the licensee or associate;
      (B) Requirements for specific training;
      (C) Supervision of the practice of the licensee or associate; or
      (D) Other conditions the board finds necessary for the protection of the public.
      (3) The board may initiate injunctive proceedings in any circuit court against persons violating
 any provision of ORS 675.715 to 675.835 or any rules adopted by the board.
      (4) Pursuant to ORS 183.745, the board may impose a civil penalty of not more than $2,500 for
 each ground for discipline listed in subsection (1) of this section found by the board.

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      (5) Pursuant to ORS 183.745, the board may impose a civil penalty of not more than $2,500 for
 each violation of or failure to observe any limitation or condition imposed by the board on the
 licensee’s or registered associate’s practice under subsection (2) of this section.
      (6) Information that the board obtains as part of an investigation into licensee or applicant
 conduct or as part of a contested case proceeding, consent order or stipulated agreement involving
 licensee or applicant conduct is confidential as provided under ORS 676.175.
      (7) In addition to the actions authorized by subsections (1) and (2) of this section, the board may
 take such disciplinary action as the board in its discretion finds proper, including but not limited
 to the assessment of the costs of the disciplinary process.
      (8) The board may not suspend or revoke a person’s license or registration to practice
 professional counseling or marriage and family therapy, or refuse to grant a license or reg-
 istration to practice professional counseling or marriage and family therapy to a person,
 because of a conviction or disciplinary action resulting solely from the person’s provision of
 professional counseling services or marriage and family therapy services relating to repro-
 ductive or gender-affirming health care that are otherwise lawful in this state but unlawful
 in the jurisdiction in which the person provided the services, so long as the services provided
 were performed in accordance with the standard of care applicable to the services.
      SECTION 32. ORS 677.190 is amended to read:
      677.190. The Oregon Medical Board may refuse to grant, or may suspend or revoke, a license
 to practice for any of the following reasons:
      (1)(a) Unprofessional or dishonorable conduct.
      (b) For purposes of this subsection, the use of an alternative medical treatment shall not by it-
 self constitute unprofessional conduct. For purposes of this paragraph:
      (A) “Alternative medical treatment” means:
      (i) A treatment that the treating physician, based on the physician’s professional experience, has
 an objective basis to believe has a reasonable probability for effectiveness in its intended use even
 if the treatment is outside recognized scientific guidelines, is unproven, is no longer used as a gen-
 erally recognized or standard treatment or lacks the approval of the United States Food and Drug
 Administration;
      (ii) A treatment that is supported for specific usages or outcomes by at least one other physician
 licensed by the Oregon Medical Board; and
      (iii) A treatment that poses no greater risk to a patient than the generally recognized or
 standard treatment.
      (B) “Alternative medical treatment” does not include use by a physician of controlled substances
 in the treatment of a person for chemical dependency resulting from the use of controlled sub-
 stances.
      (2) Employing any person to solicit patients for the licensee. However, a managed care organ-
 ization, independent practice association, preferred provider organization or other medical service
 provider organization may contract for patients on behalf of physicians.
      (3) Representing to a patient that a manifestly incurable condition of sickness, disease or injury
 can be cured.
      (4) Obtaining any fee by fraud or misrepresentation.
      (5) Willfully or negligently divulging a professional secret without the written consent of the
 patient.
      (6)(a) Except as provided in paragraph (b) of this subsection, conviction of any offense
 punishable by incarceration in a Department of Corrections institution or in a federal prison, subject
 to ORS 670.280. A copy of the record of conviction, certified to by the clerk of the court entering
 the conviction, shall be conclusive evidence of the conviction.
      (b) The board may not suspend or revoke a person’s license, or refuse to grant a license
 to a person, because of a conviction resulting solely from the person’s provision of a repro-
 ductive or gender-affirming health care service that is otherwise lawful in this state but

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 unlawful in the jurisdiction in which the person provided the service, so long as the service
 provided was performed in accordance with the standard of care applicable to the service.
     (7) Impairment as defined in ORS 676.303.
     (8) Fraud or misrepresentation in applying for or procuring a license to practice in this state,
 or in connection with applying for or procuring registration.
     (9) Making statements that the licensee knows, or with the exercise of reasonable care should
 know, are false or misleading, regarding skill or the efficacy or value of the medicine, treatment or
 remedy prescribed or administered by the licensee or at the direction of the licensee in the treat-
 ment of any disease or other condition of the human body or mind.
     (10) Impersonating another licensee licensed under this chapter or permitting or allowing any
 person to use the license.
     (11) Aiding or abetting the practice of medicine or podiatry by a person not licensed by the
 board, when the licensee knows, or with the exercise of reasonable care should know, that the
 person is not licensed.
     (12) Using the name of the licensee under the designation “doctor,” “Dr.,” “D.O.” or “M.D.,”
 “D.P.M.,” “Acupuncturist,” “P.A.” or any similar designation in any form of advertising that is
 untruthful or is intended to deceive or mislead the public.
     (13) Gross negligence or repeated negligence in the practice of medicine or podiatry.
     (14) Incapacity to practice medicine or podiatry. If the board has evidence indicating incapacity,
 the board may order a licensee to submit to a standardized competency examination. The licensee
 shall have access to the result of the examination and to the criteria used for grading and evaluat-
 ing the examination. If the examination is given orally, the licensee shall have the right to have the
 examination recorded.
     (15)(a) Except as provided in paragraph (b) of this subsection, disciplinary action by another
 state of a license to practice, based upon acts by the licensee similar to acts described in this sec-
 tion. A certified copy of the record of the disciplinary action of the state is conclusive evidence
 thereof.
     (b) The board may not suspend or revoke a person’s license, or refuse to grant a license
 to a person, because of a disciplinary action by another state resulting solely from the
 person’s provision of a reproductive or gender-affirming health care service that is otherwise
 lawful in this state but unlawful in the jurisdiction in which the person provided the service,
 so long as the service provided was performed in accordance with the standard of care ap-
 plicable to the service.
     (16) Failing to designate the degree appearing on the license under circumstances described in
 ORS 677.184 (3).
     (17) Willfully violating any provision of this chapter or any rule adopted by the board, board
 order, or failing to comply with a board request pursuant to ORS 677.320.
     (18) Failing to report the change of the location of practice of the licensee as required by ORS
 677.172.
     (19) Imprisonment as provided in ORS 677.225.
     (20) Making a fraudulent claim.
     (21)(a) Performing psychosurgery.
     (b) For purposes of this subsection and ORS 426.385, “psychosurgery” means any operation de-
 signed to produce an irreversible lesion or destroy brain tissue for the primary purpose of altering
 the thoughts, emotions or behavior of a human being. “Psychosurgery” does not include procedures
 which may produce an irreversible lesion or destroy brain tissues when undertaken to cure well-
 defined disease states such as brain tumor, epileptic foci and certain chronic pain syndromes.
     (22) Refusing an invitation for an informal interview with the board requested under ORS
 677.415.
     (23) Violation of the federal Controlled Substances Act.

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      (24) Prescribing controlled substances without a legitimate medical purpose, or prescribing
 controlled substances without following accepted procedures for examination of patients, or pre-
 scribing controlled substances without following accepted procedures for record keeping.
      (25) Providing written documentation for purposes of ORS 475C.783 without having legitimately
 diagnosed a debilitating medical condition, as defined in ORS 475C.777, or without having followed
 accepted procedures for the examination of patients or for keeping records.
      (26) Failure by the licensee to report to the board any adverse action taken against the licensee
 by another licensing jurisdiction or any peer review body, health care institution, professional or
 medical society or association, governmental agency, law enforcement agency or court for acts or
 conduct similar to acts or conduct that would constitute grounds for disciplinary action as described
 in this section.
      (27) Failure by the licensee to notify the board of the licensee’s voluntary resignation from the
 staff of a health care institution or voluntary limitation of a licensee’s staff privileges at the insti-
 tution if that action occurs while the licensee is under investigation by the institution or a com-
 mittee thereof for any reason related to medical incompetence, unprofessional conduct, physical
 incapacity or impairment.
      SECTION 33. ORS 677.225 is amended to read:
      677.225. (1) A person’s license issued under this chapter is suspended automatically if:
      (a) The licensee is adjudged to be a person with mental illness under ORS 426.130 or is admitted
 on a voluntary basis to a treatment facility for mental illness that affects the ability of the licensee
 to safely practice medicine and if the licensee’s residence in the hospital exceeds 25 consecutive
 days; or
      (b) Except as provided in subsection (4) of this section, the licensee is an adult in custody
 in a penal institution.
      (2)(a) The clerk of the court ordering commitment or incarceration under subsection (1)(a) or (b)
 of this section shall cause to be mailed to the Oregon Medical Board, as soon as possible, a certified
 copy of the court order. [No fees are chargeable by] The clerk may not charge a fee for performing
 the duties prescribed by this paragraph.
      (b) The administrator of the hospital to which a person with a license issued under this chapter
 has voluntarily applied for admission shall cause to be mailed to the board as soon as possible, a
 certified copy of the record of the voluntary admission of [such] the person.
      (c) Written evidence received from the supervisory authority of a penal or mental institution
 that the licensee is an adult in custody or patient therein is prima facie evidence for the purpose
 of subsection (1)(a) or (b) of this section.
      (3) A suspension under this section may be terminated by the board when:
      (a)(A) The board receives evidence satisfactory to the board that the licensee is not a person
 with mental illness as defined in ORS 426.005; or
      (B) The board receives evidence satisfactory to the board that the licensee is no longer
 incarcerated; and
      (b) The board is satisfied, with due regard for the public interest, that the licensee’s privilege
 to practice may be restored.
      (4) This section does not apply to a licensee who is an adult in custody in a penal insti-
 tution if the sole reason for incarceration is the licensee’s performance of, or assistance in
 the performance of, a reproductive or gender-affirming health care service that is otherwise
 lawful in this state but unlawful in the jurisdiction in which the licensee provided, or assisted
 in the provision of, the service, so long as the service provided was performed in accordance
 with the standard of care applicable to the service.
      SECTION 34. Section 35 of this 2023 Act is added to and made a part of ORS 678.010 to
 678.410.
      SECTION 35. The Oregon State Board of Nursing may not suspend or revoke a person’s
 license or refuse to grant a license to a person, because of a conviction or disciplinary action
 by another state resulting solely from the person’s provision of a reproductive or gender-

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 affirming health care service that is otherwise lawful in this state but unlawful in the ju-
 risdiction in which the person provided the service, so long as the service provided was
 performed in accordance with the standard of care applicable to the service.
      SECTION 36. ORS 678.111, as amended by section 9, chapter 38, Oregon Laws 2022, is amended
 to read:
      678.111. In the manner prescribed in ORS chapter 183 for a contested case, and except as
 provided in section 35 of this 2023 Act:
      (1) The Oregon State Board of Nursing may refuse to issue a license to practice nursing by ex-
 amination or indorsement or a nurse internship license or may revoke or suspend a license, issue
 a limited license, censure or reprimand or place on probation, subject to any conditions imposed by
 the board, a person issued a license, for any of the following causes:
      (a) Conviction of the licensee of crime where the crime bears demonstrable relationship to the
 practice of nursing. A copy of the record of the conviction, certified to by the clerk of the court
 entering the conviction, shall be conclusive evidence of the conviction.
      (b) Gross incompetence or gross negligence of the licensee in the practice of nursing at the level
 for which the licensee is licensed.
      (c) Any willful fraud or misrepresentation in applying for or procuring a license or renewal of
 a license.
      (d) Fraud or deceit of the licensee in the practice of nursing or in admission to the practice of
 nursing.
      (e) Impairment as defined in ORS 676.303.
      (f) Conduct derogatory to the standards of nursing.
      (g) Violation of any provision of ORS 678.010 to 678.448 or rules adopted under ORS 678.010 to
 678.448.
      (h) Revocation or suspension of a license to practice nursing by any state or territory of the
 United States, or any foreign jurisdiction authorized to issue nursing credentials whether or not that
 license or credential was relied upon in issuing that license in this state. A certified copy of the
 order of revocation or suspension shall be conclusive evidence of the revocation or suspension.
      (i) Physical condition that makes the licensee unable to conduct safely the practice for which
 the licensee is licensed.
      (j) Violation of any condition imposed by the board when issuing a limited license.
      (2) A license may be denied, suspended or revoked for the reasons stated in subsection (1) of this
 section.
      (3) A license in inactive status may be denied, suspended or revoked for the reasons stated in
 subsection (1) of this section.
      (4) A license in retired status may be denied, suspended or revoked for any cause stated in
 subsection (1) of this section.
      SECTION 37. ORS 685.110 is amended to read:
      685.110. The Oregon Board of Naturopathic Medicine may refuse to grant a license, may suspend
 or revoke a license, may limit a license, may impose probation, may issue a letter of reprimand and
 may impose a civil penalty not to exceed $5,000 for each offense for any of the following reasons:
      (1) Using fraud or deception in securing a license.
      (2) Impersonating another physician.
      (3) Practicing naturopathic medicine under an assumed name.
      (4) Performing an abortion.
      (5) Being convicted of a crime involving moral turpitude.
      (6) Any other reason that renders the applicant or licensee unfit to perform the duties of a
 naturopathic physician.
      (7) Being convicted of a crime relating to practice of naturopathic medicine, unless the con-
 viction is solely the result of providing a reproductive or gender-affirming health care service
 that is otherwise lawful in this state but unlawful in the jurisdiction in which the person

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 provided the service, so long as the service provided was performed in accordance with the
 standard of care applicable to the service.
      (8) Committing negligence related to the practice of naturopathic medicine.
      (9) Having an impairment as defined in ORS 676.303.
      (10) Prescribing or dispensing drugs outside the scope of practice.
      (11) Obtaining a fee through fraud or misrepresentation.
      (12) Committing gross or repeated malpractice.
      (13) Representing to a patient that a manifestly incurable condition of sickness, disease or injury
 can be permanently cured.
      (14) Engaging in any conduct or practice contrary to a recognized standard of ethics of the
 profession or any conduct or practice that does or might constitute a danger to the health or safety
 of a patient or the public or any conduct, practice or condition that does or might adversely affect
 a physician’s ability safely and skillfully to practice naturopathic medicine.
      (15) Willfully and consistently utilizing any naturopathic service, X-ray equipment or treatment
 contrary to recognized standards of practice of the naturopathic profession.
      (16) Failing to notify the board within 30 days of a change in the location of practice or of
 mailing address.
      (17) Attempting to practice naturopathic medicine or practicing or claiming to practice
 naturopathic medicine or any of its components in this state without first complying with the pro-
 visions of this chapter.
      (18) Having a license to practice naturopathic medicine in another jurisdiction suspended or
 revoked, unless the suspension or revocation is solely the result of providing a reproductive
 or gender-affirming health care service that is otherwise lawful in this state but unlawful in
 the jurisdiction in which the person provided the service, so long as the service was per-
 formed in accordance with the standard of care applicable to the service.
      (19) Employing unlicensed persons to practice naturopathic medicine.
      (20) Practicing natural childbirth without first obtaining a certificate of special competency.
      (21) Failing to respond in a timely manner to a request for information regarding a complaint
 or the investigation of a complaint by the board.
      (22) Failing to pay a civil penalty in the time specified by the order imposing the penalty.
      (23) Violating any provision of this chapter or rules adopted by the board.
      SECTION 38. ORS 689.405 is amended to read:
      689.405. (1) The State Board of Pharmacy may refuse to issue or renew, or may suspend, revoke
 or restrict the license of any person or the certificate of registration of any drug outlet upon one
 or more of the following grounds:
      (a) Unprofessional conduct as that term is defined by the rules of the board.
      (b) Repeated or gross negligence.
      (c) Incapacity of a nature that prevents a person from engaging in the activity for which the
 person is licensed with reasonable skill, competence and safety to the public.
      (d) Impairment as defined in ORS 676.303.
      (e) Subject to subsection (4) of this section, being found guilty by the board of a violation
 of subparagraph (B) of this paragraph, or by a court of competent jurisdiction of one or more of the
 following:
      (A) A felony, as defined by the laws of this state; or
      (B) Violations of the pharmacy or drug laws of this state or rules pertaining thereto, or of
 statutes, rules or regulations of any other state, or of the federal government.
      (f) Fraud or intentional misrepresentation by a licensee or registrant in securing or attempting
 to secure the issuance or renewal of a license.
      (g) Engaging or aiding and abetting an individual to engage in the practice of pharmacy without
 a license, or falsely using the title of pharmacist.
      (h) Aiding and abetting an individual in performing the duties of a pharmacy technician without
 licensing.

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     (i) Being found by the board to be in violation of any of the provisions of ORS 435.010 to 435.130,
 453.025, 453.045, 475.035 to 475.190, 475.744, 475.752 to 475.980 or this chapter or rules adopted
 pursuant to ORS 435.010 to 435.130, 453.025, 453.045, 475.035 to 475.190, 475.744, 475.752 to 475.980
 and this chapter.
     (j) Disciplinary action by another state regarding a license, based upon acts by the licensee
 similar to acts described in this subsection, unless the disciplinary action resulted solely from
 the licensee’s provision of a reproductive or gender-affirming health care service that is
 otherwise lawful in this state but unlawful in the jurisdiction in which the licensee provided
 the service, so long as the service provided was performed in accordance with the standard
 of care applicable to the service. A certified copy of the record of disciplinary action of the state
 taking the disciplinary action is conclusive evidence thereof.
     (2) Upon receipt of a complaint under this chapter, the board shall conduct an investigation as
 described under ORS 676.165.
     (3) Actions taken under subsection (1) of this section shall be considered a contested case under
 ORS chapter 183.
     (4) The board may not suspend or revoke a person’s license, or refuse to grant a license
 to a person, because of a conviction resulting solely from the person’s provision of a repro-
 ductive or gender-affirming health care service that is otherwise lawful in this state but
 unlawful in the jurisdiction in which the person provided the service, so long as the service
 provided was performed in accordance with the standard of care applicable to the service.

                                           (Confidentiality)

      SECTION 39. ORS 192.345 is amended to read:
      192.345. The following public records are exempt from disclosure under ORS 192.311 to 192.478
 unless the public interest requires disclosure in the particular instance:
      (1) Records of a public body pertaining to litigation to which the public body is a party if the
 complaint has been filed, or if the complaint has not been filed, if the public body shows that such
 litigation is reasonably likely to occur. This exemption does not apply to litigation which has been
 concluded, and nothing in this subsection shall limit any right or opportunity granted by discovery
 or deposition statutes to a party to litigation or potential litigation.
      (2) Trade secrets. “Trade secrets,” as used in this section, may include, but are not limited to,
 any formula, plan, pattern, process, tool, mechanism, compound, procedure, production data, or
 compilation of information which is not patented, which is known only to certain individuals within
 an organization and which is used in a business it conducts, having actual or potential commercial
 value, and which gives its user an opportunity to obtain a business advantage over competitors who
 do not know or use it.
      (3) Investigatory information compiled for criminal law purposes. The record of an arrest or the
 report of a crime shall be disclosed unless and only for so long as there is a clear need to delay
 disclosure in the course of a specific investigation, including the need to protect the complaining
 party or the victim. Nothing in this subsection shall limit any right constitutionally guaranteed,
 or granted by statute, to disclosure or discovery in criminal cases. For purposes of this subsection,
 the record of an arrest or the report of a crime includes, but is not limited to:
      (a) The arrested person’s name, age, residence, employment, marital status and similar bi-
 ographical information;
      (b) The offense with which the arrested person is charged;
      (c) The conditions of release pursuant to ORS 135.230 to 135.290;
      (d) The identity of and biographical information concerning both complaining party and victim;
      (e) The identity of the investigating and arresting agency and the length of the investigation;
      (f) The circumstances of arrest, including time, place, resistance, pursuit and weapons used; and
      (g) Such information as may be necessary to enlist public assistance in apprehending fugitives
 from justice.

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      (4) Test questions, scoring keys, and other data used to administer a licensing examination,
 employment, academic or other examination or testing procedure before the examination is given
 and if the examination is to be used again. Records establishing procedures for and instructing
 persons administering, grading or evaluating an examination or testing procedure are included in
 this exemption, to the extent that disclosure would create a risk that the result might be affected.
      (5) Information consisting of production records, sale or purchase records or catch records, or
 similar business records of a private concern or enterprise, required by law to be submitted to or
 inspected by a governmental body to allow it to determine fees or assessments payable or to estab-
 lish production quotas, and the amounts of such fees or assessments payable or paid, to the extent
 that such information is in a form that would permit identification of the individual concern or en-
 terprise. This exemption does not include records submitted by long term care facilities as defined
 in ORS 442.015 to the state for purposes of reimbursement of expenses or determining fees for pa-
 tient care. Nothing in this subsection shall limit the use that can be made of such information for
 regulatory purposes or its admissibility in any enforcement proceeding.
      (6) Information relating to the appraisal of real estate prior to its acquisition.
      (7) The names and signatures of employees who sign authorization cards or petitions for the
 purpose of requesting representation or decertification elections.
      (8) Investigatory information relating to any complaint filed under ORS 659A.820 or 659A.825,
 until such time as the complaint is resolved under ORS 659A.835, or a final order is issued under
 ORS 659A.850.
      (9) Investigatory information relating to any complaint or charge filed under ORS 243.676 and
 663.180.
      (10) Records, reports and other information received or compiled by the Director of the De-
 partment of Consumer and Business Services under ORS 697.732.
      (11) Information concerning the location of archaeological sites or objects as those terms are
 defined in ORS 358.905, except if the governing body of an Indian tribe requests the information and
 the need for the information is related to that Indian tribe’s cultural or religious activities. This
 exemption does not include information relating to a site that is all or part of an existing, commonly
 known and publicized tourist facility or attraction.
      (12) A personnel discipline action, or materials or documents supporting that action.
      (13) Fish and wildlife information:
      (a) Developed pursuant to ORS 496.004, 496.172 and 498.026 or ORS 496.192 and 564.100, re-
 garding the habitat, location or population of any threatened species or endangered species; or
      (b) Described in section 2, chapter 532, Oregon Laws 2019.
      (14) Writings prepared by or under the direction of faculty of public educational institutions, in
 connection with research, until publicly released, copyrighted or patented.
      (15) Computer programs developed or purchased by or for any public body for its own use. As
 used in this subsection, “computer program” means a series of instructions or statements which
 permit the functioning of a computer system in a manner designed to provide storage, retrieval and
 manipulation of data from such computer system, and any associated documentation and source
 material that explain how to operate the computer program. “Computer program” does not include:
      (a) The original data, including but not limited to numbers, text, voice, graphics and images;
      (b) Analyses, compilations and other manipulated forms of the original data produced by use of
 the program; or
      (c) The mathematical and statistical formulas which would be used if the manipulated forms of
 the original data were to be produced manually.
      (16) Data and information provided by participants to mediation under ORS 36.256.
      (17) Investigatory information relating to any complaint or charge filed under ORS chapter 654,
 until a final administrative determination is made or, if a citation is issued, until an employer re-
 ceives notice of any citation.
      (18) Specific operational plans in connection with an anticipated threat to individual or public
 safety for deployment and use of personnel and equipment, prepared or used by a public body, if

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 public disclosure of the plans would endanger an individual’s life or physical safety or jeopardize a
 law enforcement activity.
      (19)(a) Audits or audit reports required of a telecommunications carrier. As used in this para-
 graph, “audit or audit report” means any external or internal audit or audit report pertaining to a
 telecommunications carrier, as defined in ORS 133.721, or pertaining to a corporation having an af-
 filiated interest, as defined in ORS 759.390, with a telecommunications carrier that is intended to
 make the operations of the entity more efficient, accurate or compliant with applicable rules, pro-
 cedures or standards, that may include self-criticism and that has been filed by the telecommuni-
 cations carrier or affiliate under compulsion of state law. “Audit or audit report” does not mean an
 audit of a cost study that would be discoverable in a contested case proceeding and that is not
 subject to a protective order; and
      (b) Financial statements. As used in this paragraph, “financial statement” means a financial
 statement of a nonregulated corporation having an affiliated interest, as defined in ORS 759.390,
 with a telecommunications carrier, as defined in ORS 133.721.
      (20) The residence address of an elector if authorized under ORS 247.965 and subject to ORS
 247.967.
      (21) The following records, communications and information submitted to a housing authority
 as defined in ORS 456.005, or to an urban renewal agency as defined in ORS 457.010, by applicants
 for and recipients of loans, grants and tax credits:
      (a) Personal and corporate financial statements and information, including tax returns;
      (b) Credit reports;
      (c) Project appraisals, excluding appraisals obtained in the course of transactions involving an
 interest in real estate that is acquired, leased, rented, exchanged, transferred or otherwise disposed
 of as part of the project, but only after the transactions have closed and are concluded;
      (d) Market studies and analyses;
      (e) Articles of incorporation, partnership agreements and operating agreements;
      (f) Commitment letters;
      (g) Project pro forma statements;
      (h) Project cost certifications and cost data;
      (i) Audits;
      (j) Project tenant correspondence requested to be confidential;
      (k) Tenant files relating to certification; and
      (L) Housing assistance payment requests.
      (22) Records or information that, if disclosed, would allow a person to:
      (a) Gain unauthorized access to buildings or other property;
      (b) Identify those areas of structural or operational vulnerability that would permit unlawful
 disruption to, or interference with, services; or
      (c) Disrupt, interfere with or gain unauthorized access to public funds or to information proc-
 essing, communication or telecommunication systems, including the information contained in the
 systems, that are used or operated by a public body.
      (23) Records or information that would reveal or otherwise identify security measures, or
 weaknesses or potential weaknesses in security measures, taken or recommended to be taken to
 protect:
      (a) An individual;
      (b) Buildings or other property;
      (c) Information processing, communication or telecommunication systems, including the infor-
 mation contained in the systems; or
      (d) Those operations of the Oregon State Lottery the security of which are subject to study and
 evaluation under ORS 461.180 (6).
      (24) Personal information held by or under the direction of officials of the Oregon Health and
 Science University or a public university listed in ORS 352.002 about a person who has or who is
 interested in donating money or property to the Oregon Health and Science University or a public

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 university, if the information is related to the family of the person, personal assets of the person
 or is incidental information not related to the donation.
      (25) The home address, professional address and telephone number of a person who has or who
 is interested in donating money or property to a public university listed in ORS 352.002.
      (26) Records of the name and address of a person who files a report with or pays an assessment
 to a commodity commission established under ORS 576.051 to 576.455, the Oregon Beef Council
 created under ORS 577.210 or the Oregon Wheat Commission created under ORS 578.030.
      (27) Information provided to, obtained by or used by a public body to authorize, originate, re-
 ceive or authenticate a transfer of funds, including but not limited to a credit card number, payment
 card expiration date, password, financial institution account number and financial institution routing
 number.
      (28) Social Security numbers as provided in ORS 107.840.
      (29) The electronic mail address of a student who attends a public university listed in ORS
 352.002 or Oregon Health and Science University.
      (30) The name, home address, professional address or location of a person that is engaged in,
 or that provides goods or services for, medical research at Oregon Health and Science University
 that is conducted using animals other than rodents. This subsection does not apply to Oregon Health
 and Science University press releases, websites or other publications circulated to the general
 public.
      (31) If requested by a public safety officer, as defined in ORS 181A.355, or a county juvenile
 department employee who is charged with and primarily performs duties related to the custody,
 control or supervision of adjudicated youths confined in a detention facility, as defined in ORS
 419A.004:
      (a) The home address and home telephone number of the public safety officer or county juvenile
 department employee contained in the voter registration records for the officer or employee.
      (b) The home address and home telephone number of the public safety officer or county juvenile
 department employee contained in records of the Department of Public Safety Standards and
 Training.
      (c) The name of the public safety officer or county juvenile department employee contained in
 county real property assessment or taxation records. This exemption:
      (A) Applies only to the name of the officer or employee and any other owner of the property in
 connection with a specific property identified by the officer or employee in a request for exemption
 from disclosure;
      (B) Applies only to records that may be made immediately available to the public upon request
 in person, by telephone or using the Internet;
      (C) Applies until the officer or employee requests termination of the exemption;
      (D) Does not apply to disclosure of records among public bodies as defined in ORS 174.109 for
 governmental purposes; and
      (E) May not result in liability for the county if the name of the officer or employee is disclosed
 after a request for exemption from disclosure is made under this subsection.
      (32) Unless the public records request is made by a financial institution, as defined in ORS
 706.008, consumer finance company licensed under ORS chapter 725, mortgage banker or mortgage
 broker licensed under ORS 86A.095 to 86A.198, or title company for business purposes, records de-
 scribed in paragraph (a) of this subsection, if the exemption from disclosure of the records is sought
 by an individual described in paragraph (b) of this subsection using the procedure described in
 paragraph (c) of this subsection:
      (a) The home address, home or cellular telephone number or personal electronic mail address
 contained in the records of any public body that has received the request that is set forth in:
      (A) A warranty deed, deed of trust, mortgage, lien, deed of reconveyance, release, satisfaction,
 substitution of trustee, easement, dog license, marriage license or military discharge record that is
 in the possession of the county clerk; or
      (B) Any public record of a public body other than the county clerk.

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      (b) The individual claiming the exemption from disclosure must be a district attorney, a deputy
 district attorney, the Attorney General or an assistant attorney general, the United States Attorney
 for the District of Oregon or an assistant United States attorney for the District of Oregon, a city
 attorney who engages in the prosecution of criminal matters or a deputy city attorney who engages
 in the prosecution of criminal matters.
      (c) The individual claiming the exemption from disclosure must do so by filing the claim in
 writing with the public body for which the exemption from disclosure is being claimed on a form
 prescribed by the public body. Unless the claim is filed with the county clerk, the claim form shall
 list the public records in the possession of the public body to which the exemption applies. The ex-
 emption applies until the individual claiming the exemption requests termination of the exemption
 or ceases to qualify for the exemption.
      (33) The following voluntary conservation agreements and reports:
      (a) Land management plans required for voluntary stewardship agreements entered into under
 ORS 541.973; and
      (b) Written agreements relating to the conservation of greater sage grouse entered into volun-
 tarily by owners or occupiers of land with a soil and water conservation district under ORS 568.550.
      (34) Sensitive business records or financial or commercial information of the State Accident In-
 surance Fund Corporation that is not customarily provided to business competitors. This exemption
 does not:
      (a) Apply to the formulas for determining dividends to be paid to employers insured by the State
 Accident Insurance Fund Corporation;
      (b) Apply to contracts for advertising, public relations or lobbying services or to documents re-
 lated to the formation of such contracts;
      (c) Apply to group insurance contracts or to documents relating to the formation of such con-
 tracts, except that employer account records shall remain exempt from disclosure as provided in
 ORS 192.355 (35); or
      (d) Provide the basis for opposing the discovery of documents in litigation pursuant to the ap-
 plicable rules of civil procedure.
      (35) Records of the Department of Public Safety Standards and Training relating to investi-
 gations conducted under ORS 181A.640 or 181A.870 (6), until the department issues the report de-
 scribed in ORS 181A.640 or 181A.870.
      (36) A medical examiner’s report, autopsy report or laboratory test report ordered by a medical
 examiner under ORS 146.117.
      (37) Any document or other information related to an audit of a public body, as defined in ORS
 174.109, that is in the custody of an auditor or audit organization operating under nationally re-
 cognized government auditing standards, until the auditor or audit organization issues a final audit
 report in accordance with those standards or the audit is abandoned. This exemption does not pro-
 hibit disclosure of a draft audit report that is provided to the audited entity for the entity’s response
 to the audit findings.
      (38)(a) Personally identifiable information collected as part of an electronic fare collection sys-
 tem of a mass transit system.
      (b) The exemption from disclosure in paragraph (a) of this subsection does not apply to public
 records that have attributes of anonymity that are sufficient, or that are aggregated into groupings
 that are broad enough, to ensure that persons cannot be identified by disclosure of the public re-
 cords.
      (c) As used in this subsection:
      (A) “Electronic fare collection system” means the software and hardware used for, associated
 with or relating to the collection of transit fares for a mass transit system, including but not limited
 to computers, radio communication systems, personal mobile devices, wearable technology, fare in-
 struments, information technology, data storage or collection equipment, or other equipment or im-
 provements.
      (B) “Mass transit system” has the meaning given that term in ORS 267.010.

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      (C) “Personally identifiable information” means all information relating to a person that ac-
 quires or uses a transit pass or other fare payment medium in connection with an electronic fare
 collection system, including but not limited to:
      (i) Customer account information, date of birth, telephone number, physical address, electronic
 mail address, credit or debit card information, bank account information, Social Security or taxpayer
 identification number or other identification number, transit pass or fare payment medium balances
 or history, or similar personal information; or
      (ii) Travel dates, travel times, frequency of use, travel locations, service types or vehicle use,
 or similar travel information.
      (39)(a) If requested by a civil code enforcement officer:
      (A) The home address and home telephone number of the civil code enforcement officer con-
 tained in the voter registration records for the officer.
      (B) The name of the civil code enforcement officer contained in county real property assessment
 or taxation records. This exemption:
      (i) Applies only to the name of the civil code enforcement officer and any other owner of the
 property in connection with a specific property identified by the officer in a request for exemption
 from disclosure;
      (ii) Applies only to records that may be made immediately available to the public upon request
 in person, by telephone or using the Internet;
      (iii) Applies until the civil code enforcement officer requests termination of the exemption;
      (iv) Does not apply to disclosure of records among public bodies as defined in ORS 174.109 for
 governmental purposes; and
      (v) May not result in liability for the county if the name of the civil code enforcement officer
 is disclosed after a request for exemption from disclosure is made under this subsection.
      (b) As used in this subsection, “civil code enforcement officer” means an employee of a public
 body, as defined in ORS 174.109, who is charged with enforcing laws or ordinances relating to land
 use, zoning, use of rights-of-way, solid waste, hazardous waste, sewage treatment and disposal or the
 state building code.
      (40) Audio or video recordings, whether digital or analog, resulting from a law enforcement
 officer’s operation of a video camera worn upon the officer’s person that records the officer’s
 interactions with members of the public while the officer is on duty. When a recording described in
 this subsection is subject to disclosure, the following apply:
      (a) Recordings that have been sealed in a court’s record of a court proceeding or otherwise or-
 dered by a court not to be disclosed may not be disclosed.
      (b) A request for disclosure under this subsection must identify the approximate date and time
 of an incident for which the recordings are requested and be reasonably tailored to include only that
 material for which a public interest requires disclosure.
      (c) A video recording disclosed under this subsection must, prior to disclosure, be edited in a
 manner as to render the faces of all persons within the recording unidentifiable.
      (41) The contents of tips reported to a tip line, as defined in ORS 339.329. However, personally
 identifiable information, as defined in ORS 339.329, is not subject to public interest balancing under
 this section and remains exempt from disclosure except as provided in ORS 339.329.
      (42) Residential addresses of individuals with intellectual or developmental disabilities residing
 in adult foster homes as defined in ORS 443.705 or residential training facilities or residential
 training homes as those terms are defined in ORS 443.400.
      (43) The name, home address, professional address or location of an individual who is
 authorized to provide physical and behavioral health care services in this state and who
 provides reproductive and gender-affirming health care services.
      SECTION 40. ORS 192.345, as amended by section 4, chapter 532, Oregon Laws 2019, section
 2, chapter 318, Oregon Laws 2021, and section 23, chapter 489, Oregon Laws 2021, is amended to
 read:

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      192.345. The following public records are exempt from disclosure under ORS 192.311 to 192.478
 unless the public interest requires disclosure in the particular instance:
      (1) Records of a public body pertaining to litigation to which the public body is a party if the
 complaint has been filed, or if the complaint has not been filed, if the public body shows that such
 litigation is reasonably likely to occur. This exemption does not apply to litigation which has been
 concluded, and nothing in this subsection shall limit any right or opportunity granted by discovery
 or deposition statutes to a party to litigation or potential litigation.
      (2) Trade secrets. “Trade secrets,” as used in this section, may include, but are not limited to,
 any formula, plan, pattern, process, tool, mechanism, compound, procedure, production data, or
 compilation of information which is not patented, which is known only to certain individuals within
 an organization and which is used in a business it conducts, having actual or potential commercial
 value, and which gives its user an opportunity to obtain a business advantage over competitors who
 do not know or use it.
      (3) Investigatory information compiled for criminal law purposes. The record of an arrest or the
 report of a crime shall be disclosed unless and only for so long as there is a clear need to delay
 disclosure in the course of a specific investigation, including the need to protect the complaining
 party or the victim. Nothing in this subsection shall limit any right constitutionally guaranteed,
 or granted by statute, to disclosure or discovery in criminal cases. For purposes of this subsection,
 the record of an arrest or the report of a crime includes, but is not limited to:
      (a) The arrested person’s name, age, residence, employment, marital status and similar bi-
 ographical information;
      (b) The offense with which the arrested person is charged;
      (c) The conditions of release pursuant to ORS 135.230 to 135.290;
      (d) The identity of and biographical information concerning both complaining party and victim;
      (e) The identity of the investigating and arresting agency and the length of the investigation;
      (f) The circumstances of arrest, including time, place, resistance, pursuit and weapons used; and
      (g) Such information as may be necessary to enlist public assistance in apprehending fugitives
 from justice.
      (4) Test questions, scoring keys, and other data used to administer a licensing examination,
 employment, academic or other examination or testing procedure before the examination is given
 and if the examination is to be used again. Records establishing procedures for and instructing
 persons administering, grading or evaluating an examination or testing procedure are included in
 this exemption, to the extent that disclosure would create a risk that the result might be affected.
      (5) Information consisting of production records, sale or purchase records or catch records, or
 similar business records of a private concern or enterprise, required by law to be submitted to or
 inspected by a governmental body to allow it to determine fees or assessments payable or to estab-
 lish production quotas, and the amounts of such fees or assessments payable or paid, to the extent
 that such information is in a form that would permit identification of the individual concern or en-
 terprise. This exemption does not include records submitted by long term care facilities as defined
 in ORS 442.015 to the state for purposes of reimbursement of expenses or determining fees for pa-
 tient care. Nothing in this subsection shall limit the use that can be made of such information for
 regulatory purposes or its admissibility in any enforcement proceeding.
      (6) Information relating to the appraisal of real estate prior to its acquisition.
      (7) The names and signatures of employees who sign authorization cards or petitions for the
 purpose of requesting representation or decertification elections.
      (8) Investigatory information relating to any complaint filed under ORS 659A.820 or 659A.825,
 until such time as the complaint is resolved under ORS 659A.835, or a final order is issued under
 ORS 659A.850.
      (9) Investigatory information relating to any complaint or charge filed under ORS 243.676 and
 663.180.
      (10) Records, reports and other information received or compiled by the Director of the De-
 partment of Consumer and Business Services under ORS 697.732.

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      (11) Information concerning the location of archaeological sites or objects as those terms are
 defined in ORS 358.905, except if the governing body of an Indian tribe requests the information and
 the need for the information is related to that Indian tribe’s cultural or religious activities. This
 exemption does not include information relating to a site that is all or part of an existing, commonly
 known and publicized tourist facility or attraction.
      (12) A personnel discipline action, or materials or documents supporting that action.
      (13) Fish and wildlife information developed pursuant to ORS 496.004, 496.172 and 498.026 or
 ORS 496.192 and 564.100, regarding the habitat, location or population of any threatened species or
 endangered species.
      (14) Writings prepared by or under the direction of faculty of public educational institutions, in
 connection with research, until publicly released, copyrighted or patented.
      (15) Computer programs developed or purchased by or for any public body for its own use. As
 used in this subsection, “computer program” means a series of instructions or statements which
 permit the functioning of a computer system in a manner designed to provide storage, retrieval and
 manipulation of data from such computer system, and any associated documentation and source
 material that explain how to operate the computer program. “Computer program” does not include:
      (a) The original data, including but not limited to numbers, text, voice, graphics and images;
      (b) Analyses, compilations and other manipulated forms of the original data produced by use of
 the program; or
      (c) The mathematical and statistical formulas which would be used if the manipulated forms of
 the original data were to be produced manually.
      (16) Data and information provided by participants to mediation under ORS 36.256.
      (17) Investigatory information relating to any complaint or charge filed under ORS chapter 654,
 until a final administrative determination is made or, if a citation is issued, until an employer re-
 ceives notice of any citation.
      (18) Specific operational plans in connection with an anticipated threat to individual or public
 safety for deployment and use of personnel and equipment, prepared or used by a public body, if
 public disclosure of the plans would endanger an individual’s life or physical safety or jeopardize a
 law enforcement activity.
      (19)(a) Audits or audit reports required of a telecommunications carrier. As used in this para-
 graph, “audit or audit report” means any external or internal audit or audit report pertaining to a
 telecommunications carrier, as defined in ORS 133.721, or pertaining to a corporation having an af-
 filiated interest, as defined in ORS 759.390, with a telecommunications carrier that is intended to
 make the operations of the entity more efficient, accurate or compliant with applicable rules, pro-
 cedures or standards, that may include self-criticism and that has been filed by the telecommuni-
 cations carrier or affiliate under compulsion of state law. “Audit or audit report” does not mean an
 audit of a cost study that would be discoverable in a contested case proceeding and that is not
 subject to a protective order; and
      (b) Financial statements. As used in this paragraph, “financial statement” means a financial
 statement of a nonregulated corporation having an affiliated interest, as defined in ORS 759.390,
 with a telecommunications carrier, as defined in ORS 133.721.
      (20) The residence address of an elector if authorized under ORS 247.965 and subject to ORS
 247.967.
      (21) The following records, communications and information submitted to a housing authority
 as defined in ORS 456.005, or to an urban renewal agency as defined in ORS 457.010, by applicants
 for and recipients of loans, grants and tax credits:
      (a) Personal and corporate financial statements and information, including tax returns;
      (b) Credit reports;
      (c) Project appraisals, excluding appraisals obtained in the course of transactions involving an
 interest in real estate that is acquired, leased, rented, exchanged, transferred or otherwise disposed
 of as part of the project, but only after the transactions have closed and are concluded;
      (d) Market studies and analyses;

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      (e) Articles of incorporation, partnership agreements and operating agreements;
      (f) Commitment letters;
      (g) Project pro forma statements;
      (h) Project cost certifications and cost data;
      (i) Audits;
      (j) Project tenant correspondence requested to be confidential;
      (k) Tenant files relating to certification; and
      (L) Housing assistance payment requests.
      (22) Records or information that, if disclosed, would allow a person to:
      (a) Gain unauthorized access to buildings or other property;
      (b) Identify those areas of structural or operational vulnerability that would permit unlawful
 disruption to, or interference with, services; or
      (c) Disrupt, interfere with or gain unauthorized access to public funds or to information proc-
 essing, communication or telecommunication systems, including the information contained in the
 systems, that are used or operated by a public body.
      (23) Records or information that would reveal or otherwise identify security measures, or
 weaknesses or potential weaknesses in security measures, taken or recommended to be taken to
 protect:
      (a) An individual;
      (b) Buildings or other property;
      (c) Information processing, communication or telecommunication systems, including the infor-
 mation contained in the systems; or
      (d) Those operations of the Oregon State Lottery the security of which are subject to study and
 evaluation under ORS 461.180 (6).
      (24) Personal information held by or under the direction of officials of the Oregon Health and
 Science University or a public university listed in ORS 352.002 about a person who has or who is
 interested in donating money or property to the Oregon Health and Science University or a public
 university, if the information is related to the family of the person, personal assets of the person
 or is incidental information not related to the donation.
      (25) The home address, professional address and telephone number of a person who has or who
 is interested in donating money or property to a public university listed in ORS 352.002.
      (26) Records of the name and address of a person who files a report with or pays an assessment
 to a commodity commission established under ORS 576.051 to 576.455, the Oregon Beef Council
 created under ORS 577.210 or the Oregon Wheat Commission created under ORS 578.030.
      (27) Information provided to, obtained by or used by a public body to authorize, originate, re-
 ceive or authenticate a transfer of funds, including but not limited to a credit card number, payment
 card expiration date, password, financial institution account number and financial institution routing
 number.
      (28) Social Security numbers as provided in ORS 107.840.
      (29) The electronic mail address of a student who attends a public university listed in ORS
 352.002 or Oregon Health and Science University.
      (30) The name, home address, professional address or location of a person that is engaged in,
 or that provides goods or services for, medical research at Oregon Health and Science University
 that is conducted using animals other than rodents. This subsection does not apply to Oregon Health
 and Science University press releases, websites or other publications circulated to the general
 public.
      (31) If requested by a public safety officer, as defined in ORS 181A.355, or a county juvenile
 department employee who is charged with and primarily performs duties related to the custody,
 control or supervision of adjudicated youths confined in a detention facility, as defined in ORS
 419A.004:
      (a) The home address and home telephone number of the public safety officer or county juvenile
 department employee contained in the voter registration records for the officer or employee.

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      (b) The home address and home telephone number of the public safety officer or county juvenile
 department employee contained in records of the Department of Public Safety Standards and
 Training.
      (c) The name of the public safety officer or county juvenile department employee contained in
 county real property assessment or taxation records. This exemption:
      (A) Applies only to the name of the officer or employee and any other owner of the property in
 connection with a specific property identified by the officer or employee in a request for exemption
 from disclosure;
      (B) Applies only to records that may be made immediately available to the public upon request
 in person, by telephone or using the Internet;
      (C) Applies until the officer or employee requests termination of the exemption;
      (D) Does not apply to disclosure of records among public bodies as defined in ORS 174.109 for
 governmental purposes; and
      (E) May not result in liability for the county if the name of the officer or employee is disclosed
 after a request for exemption from disclosure is made under this subsection.
      (32) Unless the public records request is made by a financial institution, as defined in ORS
 706.008, consumer finance company licensed under ORS chapter 725, mortgage banker or mortgage
 broker licensed under ORS 86A.095 to 86A.198, or title company for business purposes, records de-
 scribed in paragraph (a) of this subsection, if the exemption from disclosure of the records is sought
 by an individual described in paragraph (b) of this subsection using the procedure described in
 paragraph (c) of this subsection:
      (a) The home address, home or cellular telephone number or personal electronic mail address
 contained in the records of any public body that has received the request that is set forth in:
      (A) A warranty deed, deed of trust, mortgage, lien, deed of reconveyance, release, satisfaction,
 substitution of trustee, easement, dog license, marriage license or military discharge record that is
 in the possession of the county clerk; or
      (B) Any public record of a public body other than the county clerk.
      (b) The individual claiming the exemption from disclosure must be a district attorney, a deputy
 district attorney, the Attorney General or an assistant attorney general, the United States Attorney
 for the District of Oregon or an assistant United States attorney for the District of Oregon, a city
 attorney who engages in the prosecution of criminal matters or a deputy city attorney who engages
 in the prosecution of criminal matters.
      (c) The individual claiming the exemption from disclosure must do so by filing the claim in
 writing with the public body for which the exemption from disclosure is being claimed on a form
 prescribed by the public body. Unless the claim is filed with the county clerk, the claim form shall
 list the public records in the possession of the public body to which the exemption applies. The ex-
 emption applies until the individual claiming the exemption requests termination of the exemption
 or ceases to qualify for the exemption.
      (33) The following voluntary conservation agreements and reports:
      (a) Land management plans required for voluntary stewardship agreements entered into under
 ORS 541.973; and
      (b) Written agreements relating to the conservation of greater sage grouse entered into volun-
 tarily by owners or occupiers of land with a soil and water conservation district under ORS 568.550.
      (34) Sensitive business records or financial or commercial information of the State Accident In-
 surance Fund Corporation that is not customarily provided to business competitors. This exemption
 does not:
      (a) Apply to the formulas for determining dividends to be paid to employers insured by the State
 Accident Insurance Fund Corporation;
      (b) Apply to contracts for advertising, public relations or lobbying services or to documents re-
 lated to the formation of such contracts;

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      (c) Apply to group insurance contracts or to documents relating to the formation of such con-
 tracts, except that employer account records shall remain exempt from disclosure as provided in
 ORS 192.355 (35); or
      (d) Provide the basis for opposing the discovery of documents in litigation pursuant to the ap-
 plicable rules of civil procedure.
      (35) Records of the Department of Public Safety Standards and Training relating to investi-
 gations conducted under ORS 181A.640 or 181A.870 (6), until the department issues the report de-
 scribed in ORS 181A.640 or 181A.870.
      (36) A medical examiner’s report, autopsy report or laboratory test report ordered by a medical
 examiner under ORS 146.117.
      (37) Any document or other information related to an audit of a public body, as defined in ORS
 174.109, that is in the custody of an auditor or audit organization operating under nationally re-
 cognized government auditing standards, until the auditor or audit organization issues a final audit
 report in accordance with those standards or the audit is abandoned. This exemption does not pro-
 hibit disclosure of a draft audit report that is provided to the audited entity for the entity’s response
 to the audit findings.
      (38)(a) Personally identifiable information collected as part of an electronic fare collection sys-
 tem of a mass transit system.
      (b) The exemption from disclosure in paragraph (a) of this subsection does not apply to public
 records that have attributes of anonymity that are sufficient, or that are aggregated into groupings
 that are broad enough, to ensure that persons cannot be identified by disclosure of the public re-
 cords.
      (c) As used in this subsection:
      (A) “Electronic fare collection system” means the software and hardware used for, associated
 with or relating to the collection of transit fares for a mass transit system, including but not limited
 to computers, radio communication systems, personal mobile devices, wearable technology, fare in-
 struments, information technology, data storage or collection equipment, or other equipment or im-
 provements.
      (B) “Mass transit system” has the meaning given that term in ORS 267.010.
      (C) “Personally identifiable information” means all information relating to a person that ac-
 quires or uses a transit pass or other fare payment medium in connection with an electronic fare
 collection system, including but not limited to:
      (i) Customer account information, date of birth, telephone number, physical address, electronic
 mail address, credit or debit card information, bank account information, Social Security or taxpayer
 identification number or other identification number, transit pass or fare payment medium balances
 or history, or similar personal information; or
      (ii) Travel dates, travel times, frequency of use, travel locations, service types or vehicle use,
 or similar travel information.
      (39)(a) If requested by a civil code enforcement officer:
      (A) The home address and home telephone number of the civil code enforcement officer con-
 tained in the voter registration records for the officer.
      (B) The name of the civil code enforcement officer contained in county real property assessment
 or taxation records. This exemption:
      (i) Applies only to the name of the civil code enforcement officer and any other owner of the
 property in connection with a specific property identified by the officer in a request for exemption
 from disclosure;
      (ii) Applies only to records that may be made immediately available to the public upon request
 in person, by telephone or using the Internet;
      (iii) Applies until the civil code enforcement officer requests termination of the exemption;
      (iv) Does not apply to disclosure of records among public bodies as defined in ORS 174.109 for
 governmental purposes; and

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      (v) May not result in liability for the county if the name of the civil code enforcement officer
 is disclosed after a request for exemption from disclosure is made under this subsection.
      (b) As used in this subsection, “civil code enforcement officer” means an employee of a public
 body, as defined in ORS 174.109, who is charged with enforcing laws or ordinances relating to land
 use, zoning, use of rights-of-way, solid waste, hazardous waste, sewage treatment and disposal or the
 state building code.
      (40) Audio or video recordings, whether digital or analog, resulting from a law enforcement
 officer’s operation of a video camera worn upon the officer’s person that records the officer’s
 interactions with members of the public while the officer is on duty. When a recording described in
 this subsection is subject to disclosure, the following apply:
      (a) Recordings that have been sealed in a court’s record of a court proceeding or otherwise or-
 dered by a court not to be disclosed may not be disclosed.
      (b) A request for disclosure under this subsection must identify the approximate date and time
 of an incident for which the recordings are requested and be reasonably tailored to include only that
 material for which a public interest requires disclosure.
      (c) A video recording disclosed under this subsection must, prior to disclosure, be edited in a
 manner as to render the faces of all persons within the recording unidentifiable.
      (41) The contents of tips reported to a tip line, as defined in ORS 339.329. However, personally
 identifiable information, as defined in ORS 339.329, is not subject to public interest balancing under
 this section and remains exempt from disclosure except as provided in ORS 339.329.
      (42) Residential addresses of individuals with intellectual or developmental disabilities residing
 in adult foster homes as defined in ORS 443.705 or residential training facilities or residential
 training homes as those terms are defined in ORS 443.400.
      (43) The name, home address, professional address or location of an individual who is
 authorized to provide physical and behavioral health care services in this state and who
 provides reproductive and gender-affirming health care services.
      SECTION 41. ORS 192.820 is amended to read:
      192.820. As used in ORS 192.820 to 192.868:
      (1) “Actual address” means:
      (a) A residential, work or school street address of an individual specified on the application of
 the individual to be a program participant; or
      (b) The name of the county in which the program participant resides or the name or number of
 the election precinct in which the program participant is registered to vote.
      (2) “Address Confidentiality Program” means the program established under ORS 192.822.
      (3) “Application assistant” means an employee of or a volunteer serving a public or private en-
 tity designated by the Attorney General under ORS 192.854 to assist individuals with applications
 to participate in the Address Confidentiality Program.
      (4) “Health care provider” means an individual who is authorized in this state to provide
 physical and behavioral health care services and who provides reproductive and gender-
 affirming health care services.
      [(4)] (5) “Program participant” means an individual accepted into the Address Confidentiality
 Program under ORS 192.820 to 192.868.
      [(5)] (6) “Public body” has the meaning given that term in ORS 174.109.
      [(6)] (7) “Public record” has the meaning given that term in ORS 192.311.
      [(7)] (8) “Substitute address” means an address designated by the Attorney General under the
 Address Confidentiality Program.
      [(8)] (9) “Victim of a sexual offense” means:
      (a) An individual against whom a sexual offense has been committed, as described in ORS
 163.305 to 163.467, 163.427, 163.466 or 163.525; or
      (b) Any other individual designated by the Attorney General by rule.
      [(9)] (10) “Victim of domestic violence” means:

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      (a) An individual against whom domestic violence has been committed, as defined in ORS
 135.230, 181A.355 or 411.117;
      (b) An individual who has been a victim of abuse, as defined in ORS 107.705; or
      (c) Any other individual designated a victim of domestic violence by the Attorney General by
 rule.
      [(10)] (11) “Victim of human trafficking” means:
      (a) An individual against whom an offense described in ORS 163.263, 163.264 or 163.266 has been
 committed; or
      (b) Any other individual designated by the Attorney General by rule. In adopting rules under
 this subsection, the Attorney General shall consider individuals against whom an act recognized as
 a severe form of trafficking in persons under 22 U.S.C. 7102 has been committed.
      [(11)] (12) “Victim of stalking” means:
      (a) An individual against whom stalking has been committed, as described in ORS 163.732; or
      (b) Any other individual designated by the Attorney General by rule.
      SECTION 42. ORS 192.822 is amended to read:
      192.822. (1) The Address Confidentiality Program is established in the Department of Justice to:
      (a) Protect the confidentiality of the actual address of a health care provider or a victim of
 domestic violence, a sexual offense, stalking or human trafficking; and
      (b) Prevent assailants or potential assailants of the health care provider or victim from finding
 the health care provider or victim through public records.
      (2) The Attorney General shall designate a substitute address for a program participant and act
 as the agent of the program participant for purposes of service of all legal process in this state and
 receiving and forwarding first-class, certified or registered mail.
      (3) The Attorney General is not required to forward any packages or mail other than first-class,
 certified or registered mail to the program participant.
      (4) The Attorney General is not required to track or otherwise maintain records of any mail
 received on behalf of a program participant unless the mail is certified or registered.
      SECTION 43. ORS 192.826 is amended to read:
      192.826. (1) Any of the following individuals with the assistance of an application assistant may
 file an application with the Attorney General to participate in the Address Confidentiality Program:
      (a) An adult individual.
      (b) A parent or guardian acting on behalf of a minor when the minor resides with the parent
 or guardian.
      (c) A guardian acting on behalf of an incapacitated individual.
      (2) The application must be dated, signed and verified by the applicant and the application as-
 sistant who assisted in the preparation of the application.
      (3) Except as provided in subsection (8) of this section, the application must contain all of
 the following:
      (a) A statement by the applicant that the applicant or the applicant’s child or ward is a victim
 of domestic violence, a sexual offense, stalking or human trafficking and that the applicant fears for
 the applicant’s safety or the safety of the applicant’s child or ward.
      (b) Evidence that the applicant or the applicant’s child or ward is a victim of domestic violence,
 a sexual offense, stalking or human trafficking. This evidence may include any of the following:
      (A) Law enforcement, court or other federal, state or local government records or files;
      (B) Documentation from a public or private entity that provides assistance to victims of do-
 mestic violence, a sexual offense, stalking or human trafficking if the applicant or the applicant’s
 child or ward is an alleged victim of domestic violence, a sexual offense, stalking or human traf-
 ficking;
      (C) Documentation from a religious, medical or other professional from whom the applicant has
 sought assistance in dealing with the alleged domestic violence, sexual offense, stalking or human
 trafficking; or
      (D) Other forms of evidence as determined by the Attorney General by rule.

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     (c) A statement by the applicant that disclosure of the actual address of the applicant would
 endanger the safety of the applicant or the safety of the applicant’s child or ward.
     (d) A statement by the applicant that the applicant:
     (A) Resides at a location in this state that is not known by assailants or potential assailants
 of the applicant or the applicant’s child or ward; and
     (B) Will not disclose the location to assailants or potential assailants of the applicant or the
 applicant’s child or ward while the applicant is a program participant.
     (e) Written consent permitting the Attorney General to act as an agent for the applicant for the
 service of all legal process in this state and the receipt of first-class, certified or registered mail.
     (f) The mailing address and telephone number at which the Attorney General can contact the
 applicant.
     (g) The actual address that the applicant requests not be disclosed by the Attorney General that
 directly relates to the increased risk of the applicant or the applicant’s child or ward as a victim
 of domestic violence, a sexual offense, stalking or human trafficking.
     (h) A sworn statement by the applicant that to the best of the applicant’s knowledge the infor-
 mation contained in the application is true.
     (i) A recommendation by an application assistant that the applicant be a participant in the Ad-
 dress Confidentiality Program.
     (4) Upon the filing of a properly completed application and upon approval by the Attorney
 General, the Attorney General shall certify the applicant as a program participant.
     (5) Upon certification, the Attorney General shall issue an Address Confidentiality Program
 authorization card to the program participant. The Address Confidentiality Program authorization
 card is valid as long as the program participant remains certified under the program.
     (6) The term of certification shall be for a period of time determined by the Attorney General
 by rule, unless prior to the end of the period one of the following occurs:
     (a) The program participant withdraws the certification by filing with the Attorney General a
 request for withdrawal signed by the program participant and acknowledged in writing by a notary
 public or an application assistant; or
     (b) The Attorney General cancels the certification under ORS 192.834.
     (7) A program participant may renew the certification by filing an application for renewal with
 the Attorney General at least 30 days prior to expiration of the current certification.
     (8) The Attorney General shall establish by rule the requirements for an application filed
 by a health care provider.
     SECTION 44. ORS 676.177 is amended to read:
     676.177. (1) Notwithstanding any other provision of ORS 676.165 to 676.180 and except as pro-
 vided in subsection (5) of this section, a health professional regulatory board, upon a determi-
 nation by the board that it possesses otherwise confidential information that reasonably relates to
 the regulatory or enforcement function of another public entity, may disclose that information to the
 other public entity.
     (2) Any public entity that receives information pursuant to subsection (1) of this section shall
 agree to take all reasonable steps to maintain the confidentiality of the information, except that the
 public entity may use or disclose the information to the extent necessary to carry out the regulatory
 or enforcement functions of the public entity.
     (3) For purposes of this section, “public entity” means:
     (a) A board or agency of this state, or a board or agency of another state with regulatory or
 enforcement functions similar to the functions of a health professional regulatory board of this state;
     (b) A district attorney;
     (c) The Department of Justice;
     (d) A state or local public body of this state that licenses, franchises or provides emergency
 medical services; or
     (e) A law enforcement agency of this state, another state or the federal government.

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     (4) Notwithstanding subsections (1) to (3) of this section, the Oregon Board of Physical Therapy
 may disclose information described in subsection (1) of this section to the Physical Therapy Compact
 Commission established in ORS 688.240.
     (5) A health professional regulatory board may not disclose the information described in
 subsection (1) of this section to another public entity if the information relates to the pro-
 vision of or referral for reproductive or gender-affirming health care services.

                                        (Health Care Facilities)

      SECTION 45. (1) A person commits the crime of interfering with a health care facility
 if the person intentionally, knowingly or recklessly interferes with access to or from a health
 care facility, or disrupts the normal functioning of a health care facility, by:
      (a) Physically obstructing or impeding the free passage of a person seeking to enter or
 depart from the facility or from the common areas of the real property upon which the fa-
 cility is located;
      (b) Making noise that unreasonably disturbs the peace within the facility;
      (c) Trespassing on the facility or the common areas of the real property upon which the
 facility is located;
      (d) Causing the telephone of the facility to ring, vibrate or otherwise alert by visual or
 auditory means if:
      (A) The person has no communicative purpose; or
      (B) The person knows that the person has been forbidden from causing the telephone to
 ring, vibrate or alert by an individual exercising lawful authority over the receiving tele-
 phone; or
      (e) Subjecting an owner, agent, patient or employee of the facility to alarm by conveying
 a telephonic, electronic or written threat to inflict serious physical injury on that individual
 or to commit a felony involving the individual, the property of the individual or a member
 of the individual’s family, when the threat would reasonably be expected to cause alarm.
      (2) Interfering with a health care facility is a Class A misdemeanor.
      (3)(a) No law shall be passed restraining the free expression of opinion, or restricting the
 right to speak, write, or print freely on any subject whatever; but every person shall be re-
 sponsible for the abuse of this right.
      (b) Nothing in this section prohibits lawful picketing, lawful protesting or peaceful as-
 sembly, or other publicity for the purpose of providing the public with information.
      (4) In a criminal proceeding based on a charge described in this section, the court shall
 take all steps reasonably necessary to safeguard the individual’s privacy and prevent
 harassment of a health care patient or health care provider who is a victim or witness in the
 proceeding, including granting protective orders and motions in limine when appropriate.
      (5) As used in this section:
      (a) “Health care facility” means a facility that provides health care services directly to
 patients, including but not limited to a hospital, clinic, health care provider’s office, health
 maintenance organization, diagnostic or treatment center, mental health facility, hospice or
 nursing home.
      (b) “Health care provider” means an individual licensed, certified, registered or otherwise
 authorized to practice by a board, as defined in ORS 413.164, or an officer, director, employee
 or agent of a health care facility.
      SECTION 46. (1) Irrespective of any criminal prosecution or the result thereof, a person
 or health care facility aggrieved by conduct prohibited by section 45 of this 2023 Act may
 bring a civil action against the person or group of persons engaging in the prohibited con-
 duct, individually or jointly with other aggrieved persons, in the appropriate court for relief.
      (2) A plaintiff who prevails in a claim described in this section may recover:
      (a) Economic or noneconomic damages, as those terms are defined in ORS 31.705;

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     (b) Statutory damages of $500 per day for each day that the prohibited conduct occurred
 for a plaintiff who is an individual, or $5,000 per day for each day that the prohibited conduct
 occurred for a plaintiff that is a health care facility;
     (c) Injunctive relief;
     (d) Reasonable attorney fees; and
     (e) Any other appropriate equitable relief.
     (3) In a proceeding on an action described in this section, the court shall take all steps
 reasonably necessary to safeguard the individual’s privacy and prevent harassment of a
 health care patient or health care provider who is a party to or witness in the proceeding,
 including granting protective orders and motions in limine when appropriate.
     (4) The following persons and entities qualify as aggrieved for the purposes of subsection
 (1) of this section:
     (a) A person, physically present at the health care facility when the prohibited conduct
 occurs, whose access is or is about to be obstructed or impeded;
     (b) A person, physically present at the health care facility when the prohibited conduct
 occurs, whose care is or is about to be disrupted;
     (c) The health care facility or an employee or agent of the health care facility; or
     (d) The owner of the health care facility or the building or property upon which the
 health care facility is located.
     (5) As used in this section:
     (a) “Health care facility” has the meaning given that term in section 45 of this 2023 Act.
     (b) “Health care provider” has the meaning given that term in section 45 of this 2023 Act.

                                            (Employees)

      SECTION 47. ORS 659A.029 is amended to read:
      659A.029. For purposes of ORS 659A.030, the phrase “because of sex” includes, but is not limited
 to, because of pregnancy, childbirth and related medical conditions or occurrences. [Women] An
 individual affected by the individual’s pregnancy, childbirth or related medical conditions or oc-
 currences shall be treated the same for all employment-related purposes, including receipt of bene-
 fits under fringe benefit programs, as [other persons] any other person not so affected but similar
 in [their] ability or inability to work by reason of physical condition, and nothing in this section
 shall be interpreted to permit otherwise.

                                        (Interstate Actions)

     SECTION 48. (1) As used in this section:
     (a) “Gender-affirming treatment” means a procedure, service, drug, device or product
 that a physical or behavioral health care provider prescribes to treat an individual for
 incongruence between the individual’s gender identity and the individual’s sex assignment
 at birth.
     (b) “Reproductive health” means reproductive processes, functions and systems at all
 stages of life.
     (c) “Reproductive health care” includes family planning and contraception, pregnancy
 termination services, prenatal, postnatal and delivery care, miscarriage management,
 fertility care, sterilization services, treatments for sexually transmitted infections and re-
 productive cancers and any other health care and medical services related to reproductive
 health.
     (2) A law of another state that authorizes a person to bring a civil or criminal action
 against a person that does any of the following is contrary to the public policy of this state:
     (a) Receive reproductive health care or gender-affirming treatment;

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     (b) Provide or attempt to provide reproductive health care or gender-affirming treat-
 ment; or
     (c) Knowingly engage in conduct that aids or abets the provision of reproductive health
 care or gender-affirming treatment.
     (3) Notwithstanding ORCP 38 C, a person may not request that a clerk of court issue a
 subpoena for service upon a person to whom a foreign subpoena is directed if the foreign
 subpoena relates to gender-affirming treatment or reproductive health care services that are
 permitted under the laws of this state, unless the person requesting the subpoena provides
 a written declaration that the foreign subpoena relates to:
     (a) An out-of-state action founded in tort, contract or statute, for which a similar claim
 would exist under the laws of this state, brought by a patient or the patient’s authorized
 legal representative, for damages suffered by the patient; or
     (b) An out-of-state action founded in contract, and for which a similar claim would exist
 under the laws of this state, brought or sought to be enforced by a party with a contractual
 relationship with the person that is the subject of the subpoena.
     SECTION 49. ORS 15.430 is amended to read:
     15.430. Notwithstanding ORS 15.440, 15.445 and 15.455, Oregon law governs noncontractual
 claims in the following actions:
     (1) Actions in which, after the events giving rise to the dispute, the parties agree to the appli-
 cation of Oregon law.
     (2) Actions in which none of the parties raises the issue of applicability of foreign law.
     (3) Actions in which the party or parties who rely on foreign law fail to assist the court in es-
 tablishing the relevant provisions of foreign law after being requested by the court to do so.
     (4) Actions filed against a public body of the State of Oregon, unless the application of Oregon
 law is waived by a person authorized by Oregon law to make the waiver on behalf of the public
 body.
     (5) Actions against an owner, lessor or possessor of land, buildings or other real property situ-
 ated in Oregon that seek to recover for, or to prevent, injury on that property and arising out of
 conduct that occurs in Oregon.
     (6) Actions between an employer and an employee who is primarily employed in Oregon that
 arise out of an injury that occurs in Oregon.
     (7) Actions for professional malpractice arising from services rendered entirely in Oregon by
 personnel licensed to perform those services under Oregon law.
     (8)(a) Actions against a provider of reproductive health care or gender-affirming treat-
 ment, as those terms are defined in section 48 of this 2023 Act, if the reproductive health
 care or gender-affirming treatment at issue was provided in this state.
     (b) Actions against a patient receiving reproductive health care or gender-affirming
 treatment if the reproductive health care or gender-affirming treatment at issue was re-
 ceived in this state.
     (c) Actions against any person who provides aid, assistance, resources or support to a
 person in providing or receiving reproductive health care or gender-affirming treatment in
 this state.

                                        CONFORMING AMENDMENTS

     SECTION 50. ORS 161.005 is amended to read:
     161.005. ORS 161.005 to 161.055, 161.085 to 161.125, 161.150 to 161.175, 161.190 to 161.275, 161.290
 to 161.373, 161.405 to 161.485, 161.505 to 161.585, 161.605, 161.615 to 161.685, 161.705 to 161.737,
 162.005, 162.015 to 162.035, 162.055 to 162.115, 162.135 to 162.205, 162.225 to 162.375, 162.405 to
 162.425, 162.465, 163.005, 163.095, 163.107, 163.115, 163.125 to 163.145, 163.149, 163.160 to 163.208,
 163.191, 163.196, 163.215 to 163.257, 163.261, 163.263, 163.264, 163.266, 163.275, 163.285, 163.305 to
 163.467, 163.432, 163.433, 163.472, 163.505 to 163.575, 163.665 to 163.693, 163.700, 163.701, 163.715,

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 164.005, 164.015 to 164.135, 164.138, 164.140, 164.205 to 164.270, 164.305 to 164.377, 164.395 to 164.415,
 164.805, 164.857, 164.886, 165.002 to 165.102, 165.109, 165.118, 165.805, 165.815, 166.005 to 166.095,
 166.350, 166.382, 166.384, 166.660, 167.002 to 167.027, 167.057, 167.060 to 167.100, 167.117, 167.122 to
 167.162, 167.203 to 167.252, 167.310 to 167.340, 167.350, 167.810 and 167.820 and section 45 of this
 2023 Act shall be known and may be cited as Oregon Criminal Code of 1971.
      SECTION 51. ORS 677.320 is amended to read:
      677.320. (1) Upon the complaint of any [citizen] resident of this state, or upon its own initiative,
 the Oregon Medical Board may investigate any alleged violation of this chapter. If, after the inves-
 tigation, the board has reason to believe that any person is subject to criminal prosecution
 [criminally] in this state for the violation of this chapter, [it] the board shall lay the facts before
 the proper district attorney.
      (2) In the conduct of investigations, the board or its designated representative may:
      (a) Take evidence;
      (b) Take the depositions of witnesses, including the person charged;
      (c) Compel the appearance of witnesses, including the person charged;
      (d) Require answers to interrogatories; and
      (e) Compel the production of books, papers, accounts, documents and testimony pertaining to the
 matter under investigation.
      (3) In exercising its authority under subsection (2) of this section, the board may issue
 subpoenas over the signature of the executive director and the seal of the board in the name of the
 State of Oregon.
      (4) In any proceeding under this section where the subpoena is addressed to a licensee of this
 board, it shall not be a defense that the material that is subject to the subpoena is protected under
 a patient and physician privilege.
      (5) If a licensee who is the subject of an investigation or complaint is to appear before members
 of the board investigating the complaint, the board shall provide the licensee with a current sum-
 mary of the complaint or the matter being investigated not less than five days prior to the date that
 the licensee is to appear. At the time the summary of the complaint or the matter being investi-
 gated is provided, the board shall provide to the licensee a current summary of documents or alleged
 facts that the board has acquired as a result of the investigation. The name of the complainant or
 other information that reasonably may be used to identify the complainant may be withheld from the
 licensee.
      (6) A licensee who is the subject of an investigation and any person authorized to act on behalf
 of the licensee shall not knowingly contact the complainant until the licensee has requested a con-
 tested case hearing and the board has authorized the taking of the complainant’s deposition pursu-
 ant to ORS 183.425.
      (7) Except in an investigation or proceeding conducted by the board or another public entity,
 or in an action, suit or proceeding where a public entity is a party, a licensee shall not be ques-
 tioned or examined regarding any communication with the board made in an appearance before the
 board as part of an investigation. This section shall not prohibit examination or questioning of a
 licensee regarding records dealing with a patient’s care and treatment or affect the admissibility of
 those records. As used in this section, “public entity” has the meaning given that term in ORS
 676.177.

                                                REPEALS

    SECTION 52. ORS 109.610, 109.660, 435.200 and 435.435 are repealed.
    NOTE: Sections 53 through 58 were deleted by amendment. Subsequent sections were not re-
 numbered.

                                           MISCELLANEOUS

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     SECTION 59. (1) Section 20 of this 2023 Act applies to health benefit plans issued, re-
 newed or extended on or after January 1, 2024.
     (2) Section 24 of this 2023 Act applies to medical assistance provided and to contracts
 with coordinated care organizations for periods beginning on or after January 1, 2024.
     (3) The amendments to ORS 243.144 and 243.877 by sections 25 and 26 of this 2023 Act
 apply to health benefit plans offered by the Public Employees’ Benefit Board or the Oregon
 Educators Benefit Board that are issued, renewed or extended on or after January 1, 2024,
 and for self-insured health benefit plans in effect for periods beginning on or after January
 1, 2024.
     (4) Sections 31 and 35 of this 2023 Act and the amendments to ORS 675.070, 675.540,
 675.745, 677.190, 677.225, 677.320, 678.111, 685.110 and 689.405 by sections 31a to 33, 36 to 38 and
 51 of this 2023 Act apply to reproductive and gender-affirming health care services provided
 on or after the effective date of this 2023 Act.
     (5) The amendments to ORS 659A.029 by section 47 of this 2023 Act apply to unlawful
 employment discrimination occurring before, on or after the effective date of this 2023 Act.
     SECTION 60. The unit captions used in this 2023 Act are provided only for the conven-
 ience of the reader and do not become part of the statutory law of this state or express any
 legislative intent in the enactment of this 2023 Act.
     SECTION 61. This 2023 Act being necessary for the immediate preservation of the public
 peace, health and safety, an emergency is declared to exist, and this 2023 Act takes effect
 on its passage.




 Passed by House May 1, 2023                                                                   Received by Governor:

 Repassed by House June 21, 2023                                                               ........................M.,........................................................., 2023

                                                                                               Approved:

          ..................................................................................   ........................M.,........................................................., 2023
              Timothy G. Sekerak, Chief Clerk of House


                                                                                                            ..................................................................................
          ..................................................................................                                                          Tina Kotek, Governor
                                 Dan Rayfield, Speaker of House
                                                                                               Filed in Office of Secretary of State:
 Passed by Senate June 15, 2023
                                                                                               ........................M.,........................................................., 2023


          ..................................................................................
                               Rob Wagner, President of Senate                                              ..................................................................................
                                                                                                                                                             Secretary of State




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                                    Exhibit D
                           Public Hearing on H.B. 2002




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                                    Exhibit E
                                  DCBS About Us




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                                    Exhibit F
                                 Hobby Lobby Brief




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                                       NO. 13-354
                                          In the
                   Supreme Court  of the United States
                            ________________
                       KATHLEEN SEBELIUS, SECRETARY OF HEALTH
                              AND HUMAN SERVICES, et al.,
                                                    Petitioners,
                                          v.
                        HOBBY LOBBY STORES, INC., MARDEL, INC.,
                      DAVID GREEN, BARBARA GREEN, STEVE GREEN,
                            MART GREEN, and DARSEE LETT,
                                                    Respondents.
                                   ________________
                      On Writ of Certiorari to the United States
                       Court of Appeals for the Tenth Circuit
                                   ________________
                            BRIEF FOR RESPONDENTS
                                 ________________
                  PAUL D. CLEMENT             S. KYLE DUNCAN
                  MICHAEL H. MCGINLEY          Counsel of Record
                  BANCROFT PLLC               ERIC C. RASSBACH
                  1919 M Street NW            LUKE W. GOODRICH
                  Suite 470                   HANNAH C. SMITH
                  Washington, DC 20036        MARK L. RIENZI
                  PETER M. DOBELBOWER         LORI H. WINDHAM
                   General Counsel and        ADÈLE AUXIER KEIM
                   Chief Legal Officer        THE BECKET FUND FOR
                  HOBBY LOBBY STORES, INC.     RELIGIOUS LIBERTY
                  7701 SW 44th Street         3000 K Street NW, Ste. 220
                  Oklahoma City, OK 73179     Washington, DC 20007
                                              (202) 349-7209
                                              kduncan@becketfund.org
                                              JOSHUA D. HAWLEY
                                              UNIVERSITY OF MISSOURI
                                              323 Hulston Hall
                                              Columbia, MO 65211
                                 Counsel for Respondents




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                                                 4

                  screenings,” which must be covered without cost-
                  sharing. 42 U.S.C. § 300gg-13(a)(4). Rather than
                  defining this category, Congress delegated that
                  authority to the Health Resources and Services
                  Administration (“HRSA”), a sub-agency within HHS.
                  HRSA, in turn, asked the Institute of Medicine
                  (“IOM”), part of the “semi-private” National Academy
                  of Sciences, “to develop recommendations to help
                  implement     these     requirements.”       Pet.Br.5;
                  Pet.App.9a-10a; see generally IOM, Clinical
                  Preventive Services for Women: Closing the Gaps
                  (2011) (“IOM Report”).      In August 2011, HRSA
                  adopted the IOM’s recommendations without change.
                  HRSA, Women’s Preventive Services Guidelines,
                  http://www.hrsa.gov/womensguidelines.
                       The end result of this regulatory process is that
                  “non-grandfathered [health] plans * * * generally are
                  required to provide coverage without cost sharing” of
                  “[a]ll Food and Drug Administration approved
                  contraceptive methods, sterilization procedures, and
                  patient education and counseling for all women with
                  reproductive capacity.”1 Ibid. “Four of the twenty
                  approved methods—two types of intrauterine devices
                  (IUDs) and the emergency contraceptives commonly
                  known as Plan B and Ella—can function by preventing

                    1 FDA-approved methods include male and female condoms,

                  diaphragms, sponges, cervical caps, spermicides, the pill, the
                  mini-pill, the continuous-use pill, patches, vaginal rings,
                  progestin shots, implantable rods, sterilization surgery for men
                  and women, and sterilization implants for women. FDA, Birth
                  Control Guide (May 2013), http://www.fda.gov/For Consumers/
                  ByAudience/ForWomen/FreePublications/ucm313215.htm. The
                  contraceptive-coverage mandate does not include contraceptive
                  methods for men. 78 Fed. Reg. 39870, 39870 n.1 (July 2, 2013).




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                                                   5

                  the implantation of a fertilized egg.”2 Pet.App.10a.
                  This requirement to cover FDA-approved drugs and
                  devices is the contraceptive-coverage mandate at issue
                  here.
                       The government has exempted a vast array of
                  employers from this mandate for both religious and
                  secular reasons. First, HHS recognized that the
                  mandate would significantly impact religious
                  believers. See 45 C.F.R. § 147.131(a) (authorizing “an
                  exemption * * * with respect to a group health plan
                  established or maintained by a religious employer * * *
                  with respect to any requirement to cover contraceptive
                  services”). Accordingly, it established exemptions for
                  “religious    employers,”    defined   as      non-profit
                  organizations “described in a provision of the Internal
                  Revenue Code that refers to churches, their integrated
                  auxiliaries, conventions or associations of churches,
                  and to the exclusively religious activities of any
                  religious order.” Pet.App.11a-12a; see 45 C.F.R.
                  § 147.131(a); 26 U.S.C. § 6033(a)(3)(A)(i), (iii).
                       Second, HHS has provided an “accommodation”
                  for other religious non-profit organizations whose
                  religious beliefs prevent them from complying with all
                  or part of the mandate, allowing them to route


                    2 As it has throughout this litigation, the government concedes

                  that the drugs and devices at issue can prevent uterine
                  implantation of an embryo. See Pet.Br.9 n.4 (conceding that Plan
                  B (levonorgestrel), Ella (ulipristal acetate) and copper IUDs like
                  ParaGard may act by “preventing implantation (of a fertilized egg
                  in the uterus)”; ibid. (admitting that IUDs with progestin “alter[ ]
                  the endometrium”); see also FDA, Birth Control Guide, supra.
                  The en banc Tenth Circuit found “no material dispute” on this
                  issue. Pet.App.10a n.3.




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                                    Exhibit J
                      Harke Written Testimony on H.B. 3391




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                                    Exhibit K
                         Letter from Cotton to Greenlick




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                                    Exhibit L
                           Public Hearing on H.B. 3391




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                                   Exhibit M
                         H.B. 3391 Analyses and Reports




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                                    Exhibit N
                          H.B. 3391 Advocacy Fact Sheet




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                                    Exhibit O
                       Equity v. Equality, Milken Institute




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             Equity vs. Equality: What’s the Di erence?




                                                                                               ff
             November 5, 2020




             While the terms equity and equality may sound similar, the implementation of one versus
             the other can lead to dramatically di erent outcomes for marginalized people.
                                                                   ff
             Equality means each individual or group of people is given the same resources or
             opportunities. Equity recognizes that each person has di erent circumstances and
                                                                                 ff
             allocates the exact resources and opportunities needed to reach an equal outcome.

             In the illustration below, two individuals have unequal access to a system — in this case,
             the tree that provides fruit. With equal support from evenly distributed tools, their access
             to the fruit still remains unequal. The equitable solution, however, allocates the exact
             resources that each person needs to access the fruit, leading to positive outcomes for
             both individuals.
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https://onlinepublichealth.gwu.edu/resources/equity-vs-equality/                                                    1/10
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             While the tree appears to be a naturally occurring system, it’s critical to remember that
             social systems aren’t naturally inequitable — they’ve been intentionally designed to
             reward speci c demographics for so long that the system’s outcomes may appear




                                fi
             unintentional but are actually rooted discriminatory practices and beliefs.




                                                                   INEQUALITY




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                                                                   EQUITY




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             Source: “Addressing Imbalance,” by Tony Ruth for the 2019 Design in Tech Report.




                                                                                                                                           open_in_new
             Equity is a solution for addressing imbalanced social systems. Justice can take equity
             one step further by xing the systems in a way that leads to long-term, sustainable,
                                          fi
             equitable access for generations to come.

             According to the World Health Organization (WHO), equity is de ned      as “the absence


                                                                                          fi
                                                                                                open_in_new
             of avoidable or remediable di erences among groups of people, whether those groups
                                                         ff
             are de ned socially, economically, demographically or geographically.” Therefore, as the
                      fi
             WHO notes, health inequities involve more than lack of equal access to needed
             resources to maintain or improve health outcomes. They also refer to di culty when it
                                                                                                              ffi
             comes to “inequalities that infringe on fairness and human rights norms.”

             The U.S. Centers for Disease Control and Prevention (CDC) refers to health equity                                                                         as
                                                                                                                                  open_in_new
             “when everyone has the opportunity to be as healthy as possible.” As such, equity is a
             process and equality is an outcome of that process. Or, as the Race Matters Institute
                                                                                                                                                         open_in_new
              describes, “The route to achieving equity will not be accomplished through treating
             everyone equally. It will be achieved by treating everyone equitably, or justly according
             to their circumstances.”

             Understanding the di erence between health equality and health equity       is important
                                               ff
                                                                                                                    open_in_new
             to public health to ensure that resources are directed appropriately — as well as
             supporting the ongoing process of meeting people where they are. Inherent to this
             process is the promotion of diversity in teams and personnel, public health practice,
             research methods and other related factors. For these reasons, providing the same type
             and number of resources to all is not enough. In order to reduce the health disparities
             gap, the underlying issues and individual needs of underserved and vulnerable
             populations must be e ectively addressed.
                                                    ff
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             The Di erence Between Equity and Equality

                              ff
             “The route to achieving equity will not be accomplished through treating everyone
             equally. It will be achieved by treating everyone justly according to their circumstances.”

             —Paula Dressel, Race Matters Institute 1




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                                                         EXAMPLES OF EQUALITY2



                    A city cuts the budget for 25 community centers by reducing the operational
                    hours for all centers by the same amount at the same times.

                    A community meeting, where all members of the community are invited,
                    about a local environmental health concern is held in English though English
                    is not the primary language for 25% of the residents.

                    Examples of EqualityAll public schools in a community have computer labs
                    with the same number of computers and hours of operation during school
                    hours.



                                                           EXAMPLES OF EQUITY2



                    The city determines which times and how many hours communities actually
                    need to use their community centers and reduces hours for centers that
                    aren’t used as frequently.

                    Examples of EquityThe community leaders hire translators to attend the
                    meeting or o er an additional meeting held in another language.
                                         ff
                    Examples of EquityComputer labs in lower income neighborhoods have more
                    computers and printers, as well as longer hours of operation, as some
                    students don’t have access to computers or internet at home.




             There are many successful initiatives in communities around the United States where
             speci c steps have been taken to make approaches to health more equitable (PDF,
                     fi
             4.9MB),    according to the CDC. Attempts to achieve equity have involved identifying
                           open_in_new
             the individualized needs of speci c populations and implementing steps to help meet
                                                              fi
             those needs. Below are three examples of public health initiatives.


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             Project Brotherhood
             Project Brotherhood    — a clinic for Black men at Woodlawn Health Center in Chicago




                                            open_in_new
             — was created through the CDC’s Healthy Communities Program. The clinic was formed
             by a Black physician and a nurse-epidemiologist who were interested in better
             addressing the health needs of Black men. Partnering with a Black social science
             researcher, they conducted focus groups with Black men to learn about their
             experiences with the health care system and met with other Black sta at the clinic. As a




                                                                                                     ff
             result of this research, Project Brotherhood employed a number of speci c strategies,




                                                                                                                         fi
             including:

                 • O ering free health care, with optional appointments and evening clinic hours, to
                          ff
                      make health care more accessible to Black men.

                 • Providing health seminars and courses speci cally for Black men.



                                                                                 fi
                 • Employing a barber to perform free haircuts after receiving health education
                   training to be a health advocate for Black men whom the clinic sta could not




                                                                                                                    ff
                   reach.
                 • Providing fatherhood classes to help Black men become more e ectively involved




                                                                                                          ff
                   in the lives of their children.
                 • Building “a culturally competent workforce able to create a safe, respectful, male-
                   friendly environment and to overcome mistrust in Black communities toward the
                   traditional health care system.”
                 • Organizing physician participation in support group discussions to enhance
                   understanding between providers and patients.

             According to the organization, positive outcomes were achieved: “In January 1999,
             Project Brotherhood averaged four medical visits and eight group participants per week.
             By September 2005, the average grew to 27 medical visits and 35 group participants per
             week….” By 2007, Project Brotherhood had provided service to more than 13,000 people
             since the initiative started and created a health services environment designed
             speci cally for Black men where they would be respected, heard and empowered, thus
                     fi
             helping to reduce the health disparities experienced by this population.

             Poder es Salud
             Poder es Salud (Power for Health)     is a partnership involving nonpro ts, government
                                                                                                               fi
                                                                   open_in_new
             organizations, local health care providers and several community- and faith-based
             groups. This partnership was formed to address social determinants of health and
             reduce health disparities in Black and Latino communities in Multnomah County, Oregon,
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             by employing an approach to “increase social capital through durable social networks for
             the purpose of facilitating the achievement of community goals and health outcomes.”
             This was achieved through three speci c strategies:




                                                                                                 fi
                    • Conducting community-based participatory research to support cross-cultural
                      partnerships.
                    • Implementing popular education, which involves mutual learning and analysis.
                    • Providing community health workers with specialized training “in leadership, local
                      politics, governance structure, advocacy, community organizing, popular education,
                      and health.”

             Program e ectiveness was re ected in follow-up surveys that showed “signi cant
                                                    ff
                                                                                       fl
                                                                                                           fi
             improvements in social support, self-rated health and mental health among community
             members that participated in the interventions with community health workers who use
             popular education.”

             Project BRAVE: Building and Revitalizing an Anti-
             Violence Environment
             Project BRAVE      is a school-based intervention that builds on existing relationships
                                                               open_in_new
             among schools, community members, community-based organizations and local
             researchers. In doing so, Project BRAVE supports preexisting opportunities for students
             to share their experiences with violence and to take part in community change to reduce
             it. The program’s e ectiveness was evidenced by an increase in school attendance,
                                                                             ff
             which is an important social determinant of community health.


             Using Equity and Equality in Public Health
             Practice
             Understanding the di erence between equity and equality is a key component in the
                                                                                  ff
             e ort to reduce health disparities among vulnerable populations. The good news is that
               ff
             public health o cials can take speci c steps to help address this confusion in their own
                                                         ffi
                                                                                            fi
             communities — including using educational resources such as the CDC’s De ning and
                                                                                                           fi
             Measuring Disparities, Inequities, and Inequalities in the Healthy People Initiative (PDF,
             391KB)     and group exercises such as those suggested by JustHealthAction (PDF,
                        open_in_new
             637KB),     in which teams can work together to di erentiate between equity and
                                                                                                      ff
                                      open_in_new
             equality.


             Additional Resources about Equity and Equality
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                 • O ce of Health Equity,                                                   U.S. Department of Health and Human Services




                       ffi
                                                                             open_in_new
                 • Health Equity,                       American Public Health Association




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                 • Equity of Opportunity,                                                  U.S. Department of Education




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                 • Health Equity: Why It Matters, and How To Take Action,                                                                                                 Robert Wood Johnson




                                                                                                                                                            open_in_new
                     Foundation
                 • Racial Equity Impact Assessment Toolkit,                                                                                     Race Forward




                                                                                                                    open_in_new
                 • Equity vs. Equality: 6 Steps Toward Equity,                                                                                   Edutopia




                                                                                                                                  open_in_new
             Sources:

             1 “Racial Equality or Racial Equity? The Di erence it Makes,” Race Matters Institute. 2014.   ff
             Accessed Oct. 15, 2020.
             http://viablefuturescenter.org/racemattersinstitute/2014/04/02/racial-equality-or-racial-
             equity-the-di erence-it-makes/
                                ff
             2 “How are Equity and Equality Di erent?” Just Health Action, 2010. Accessed Oct. 15,
                                                                                                  ff
             2010. http://justhealthaction.org/wp-content/uploads/2010/05/JHA-Lesson-Plan-3-How-
             are-equity-and-equality-di erent- nal.pdf
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             Citation for this content: MPH@GW, the George Washington University online Master of
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                         H.B. 3391 Report to Legislature




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     September 2018


    House Bill 3391
    Reproductive Health
    Equity Act: Report to
    the Legislature
    Legislation requires a report from the Oregon Health Authority.
    This report describes the progress made in carrying out House Bill 3391.




                                 PUBLIC HEALTH DIVISION
                                 Reproductive Health Program


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Executive summary

    Overview of House Bill 3391
                                                                Upon signing, Governor Kate
    The Reproductive Health Equity Act (House                   Brown said “To lead productive
    Bill 3391) was passed in the summer of 2017. The            and thriving lives, Oregonians
    basis for this landmark legislation is the idea that        must have the ability to control
    everyone deserves access to:                                their bodies and make informed
       • Client-centered reproductive health education          decisions about their health.
         and counseling;                                        I am proud to sign legislation
       • High-quality clinical care;                            that expands access to basic
                                                                reproductive health services for
       • A broad range of contraceptive methods; and
                                                                all Oregonians — regardless
       • The right to become pregnant (or become a              of where they live, where they
         parent) without stigma or shame.                       come from, or how they identify
    House Bill (HB) 3391 ensures that Oregonians                as a person.”
    have access to comprehensive reproductive health
    care regardless of their income, citizenship or
    immigration status, gender identity, or insurance coverage.
    HB 3391:
       • Expands coverage for reproductive health services for some uninsured
         individuals;
       • Provides insured individuals with protections for reproductive health services
         with no cost sharing, such as co-pays or payments toward deductibles;
       • Codifies the legal right to abortion; and
       • Bans discrimination in the delivery of reproductive health services.
    Oregon has long been a leader in enacting policies and programs that support
    access to high-quality reproductive health services. However, disparities persist in:
       • Unintended pregnancy rates;
       • Maternal and birth outcomes;
       • Sexually transmitted infections (STIs); and
       • Cervical cancer.
    These disparities highlight structural and societal inequities that may inhibit



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                             Attorney Certificate of Service

    I hereby certify that on September 12, 2023, I have made service of the foregoing Declara-

tion of Joseph D. Maughon in Support of Preliminary Injunction Motion on the parties

listed below in the manner indicated:



 BRIAN SIMMONDS MARSHALL #196129                 ☐ U.S. Mail
 Senior Assistant Attorney General               ☐ Facsimile
 Department of Justice                           ☐ Hand Delivery
 100 SW Market Street                            ☐ Overnight Courier
 Portland, OR 97201                              ☐ Email:
 Tel (971) 673-1880                              ☒ Electronically via USDC CM/ECF system
 Fax (971) 673-5000
 Brian.S.Marshall@doj.state.or.us
 Attorney for Defendants Oregon Department
 of Consumer and Business Services and An-
 drew W. Stolfi
 ALEX C. JONES #213898                           ☐ U.S. Mail
 Department of Justice                           ☐ Facsimile
 100 SW Market Street                            ☐ Hand Delivery
 Portland, OR 97201                              ☐ Overnight Courier
 Tel (971) 673-1880                              ☐ Email:
 Fax (971) 673-5000                              ☒ Electronically via USDC CM/ECF system
 Alex.C.Jones@doj.state.or.us
 Attorney for Defendants Oregon Department
 of Consumer and Business Services and An-
 drew W. Stolfi

DATED: September 12, 2023                       JURISLAW LLP

                                                /s/ Shawn Lindsay
                                                Shawn Lindsay, OSB #020695
                                                JURISLAW, LLP
                                                Three Centerpointe Drive, Suite 160
                                                Lake Oswego, OR 97035
                                                Telephone: 503.968.1475
                                                shawn@jurislawyer.com
                                                Attorney for Plaintiff
